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               EXHIBIT 4
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         IN THE STATE COURT OF GWINNETT COUNTY
                    STATE OF GEORGIA

                              )
SHAWN MILLER,                 )
          Plaintiff,          ) CIVIL ACTION
                              ) FILE NO. 20-C-07241-S1
               vs.            )
                              )
OLD DOMINION FREIGHT LINE,    )
INC., PROTECTIVE INSURANCE    )
COMPANY, BILLIE ANNE BAKER,   )
and JOHN DOE CORPORATION 1,   )
          Defendants.         )
------------------------------/




      Zoom Video-Conference, videotaped and stenographic
deposition of ERIK T. BENDIKS, M.D., taken on behalf of
PLAINTIFF, pursuant to the stipulations set forth below,
before Meg Armistead, Certified Court Reporter, with all
parties appearing remotely, commencing at the hour of
4:00 p.m., Wednesday, November 3, 2021.




                    BULL & ASSOCIATES, INC.
                COURT AND DEPOSITION REPORTERS
          315 West Ponce de Leon Avenue, Suite 650
                 Decatur, Georgia 30030
                      (404) 256-2886
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 1   APPEARANCES OF COUNSEL:

 2   FOR THE PLAINTIFF:
               JASON R. MANTON, Esq.
 3             The Manton Law Firm, LLC
               418 Pirkle Ferry Road, Suite 112
 4             Cumming, Georgia 30040
               Phone: (678) 455-3257
 5             Fax: (678) 455-3469
               Email: Jmanton41@yahoo.com
 6
     FOR DEFENDANTS:
 7             KEVIN P. BRANCH, Esq.
               McMickle, Kurey & Branch, LLP
 8             217 Roswell Street, Suite 200
               Marietta, Georgia 30009
 9             E-mail: KPB@mkblawfirm.com

10
     FOR GEORGIA SPINE & ORTHOPEDICS and DR. BENDIKS:
11             ALEXANDER M. SMITH, Esq.
               A.M. Smith Law Firm
12             400 Galleria Parkway, Suite 1500
               Atlanta, Georgia 30330
13             Phone: (770) 627-7872
14

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12
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15   Defendants' Exhibit No. 1                                          87

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17

18
19

20             (In the following transcript, dashes [--] are
     used to indicate an intentional or purposeful
21   interruption of a sentence, and ellipsis [...] is used
     to indicate halting speech or an unfinished sentence in
22   dialogue, written material.)
23
24
25
                                                                                    3
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 1             (The Reporter's Disclosure was presented and
 2   is attached.)
 3             MR. BRANCH:     Mr. Smith, prior to the
 4   deposition, this morning I emailed you a Bates-stamped
 5   copy of documents associated with everything that we
 6   have received in response to a subpoena that I also sent
 7   you and a nonparty request for production of documents.
 8             THE VIDEOGRAPHER:       Excuse me, sir.        Would you
 9   like to record this?
10             MR. BRANCH:     I don't need a recording.            I just
11   want it on the record.
12             Previously, I had received an email from you
13   noting that an objection has been raised with Mr.
14   Coleman that allegedly indicated documents have not been
15   produced and suggesting that was because of privilege.
16   My question to you on the record, first -- and by the
17   way, let me confirm on the record -- everybody was just
18   here -- I gave you an opportunity to take as much as
19   time as you needed before we went on the record, and you
20   had responded to my questions to find the privilege log
21   that you sent -- allegedly sent, outlining the documents
22   that you withheld subject to privilege.
23             Provide me with a filing that you made with
24   the Court raising the objection, and then give me a list
25   of the documents that would have been on that privilege

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 1   log.   Can you respond to those questions?
 2               MR. JASON R. MANTON:         I tell you what real
 3   quick while he's -- before he gets ready to respond, I
 4   want to make sure.       I know you referred to a subpoena,
 5   then a nonparty request for documents.               Can you clarify:
 6   Was it a nonparty request for documents?
 7               MR. BRANCH:     Yeah.     I apologize if I said
 8   "subpoena."     It's a nonparty request for documents.                 I
 9   I'm fine to -- Madam Court Reporter, I will do this --
10               MR. MANTON:     I want to make sure was it sent
11   by Ron and not you.
12               MR. BRANCH:     That's correct.
13               MR. MANTON:     I got a copy of it.
14               MR. BRANCH:     It was November 24, 2020.
15               MR. MANTON:     I'll have to go back and check,
16   and I'm sure I got it.          You said it was November what?
17               MR. BRANCH:     November 24th, 2020.            I'm happy
18   to forward a copy to Madam Court Reporter right now.                       If
19   I can share my screen, I'm happy for everybody to take a
20   look at it.     I will tell you what.            Maybe we are --
21   let's do this.      Maybe we can take a little break, go to
22   the video record.      I can show you the nonparty request
23   for production of documents on the video record.
24               And, Mr. Smith, in the video record, you can
25   explain what the privilege log is, where the filing is,

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 1   where the objections are, and what documents have been
 2   withheld.     So let's take a break.         Let the videographer
 3   get started so we can take a look at it.
 4                MR. MANTON:     Can you send me that by email
 5   while we're on the break so I can take a look at it?
 6                (A discussion was held off the record.)
 7                MR. BRANCH:     We're about to go back on the
 8   video record.      Once again, Mr. Smith, if you need time
 9   to take a break to find for me the privilege log you
10   submitted, the objection you filed, and identification
11   of the documents you withheld before going on the video
12   record, I want to give all time you need when you come
13   on the video record so that you're organized and ready
14   to respond to my questions.          So take all the time you
15   need.
16                (A discussion was held off the record.)
17                (Video camera turned on.)
18                THE VIDEOGRAPHER:       We're on the record.          My
19   name is Lucas Danner.        I'm a notary public contracted by
20   Encore.     I am not financially interested in this action,
21   nor am I a relative or employee of any of the attorneys
22   or any of the parties.
23                Today is November 3rd, 2021.           The time is 4:17
24   p.m. Eastern time.        This video deposition is being taken
25   remotely via Zoom.        The name of the case is Shawn Miller

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 1   versus Old Dominion Freight, and it is filed in the
 2   State Court Georgia for the County of Gwinnett.                The
 3   case number is 20-C-07241-S1.
 4             This is Volume I in the video-recorded
 5   deposition of Dr. Erik Bendiks.        The attorney taking
 6   this deposition is Jason Manton.        Would all attorneys
 7   present please introduce themselves and state who you
 8   represent, starting with the taking side.
 9             MR. MANTON:     This is Jason Manton.          I'm here
10   representing the plaintiff, Shawn Miller.
11             MR. BRANCH:     I'm Kevin Branch.        I represent
12   the defendants.
13             MR. SMITH:     Alex Smith on behalf of nonparty
14   Georgia Spine Orthopaedics.       We're ready to proceed.
15             MR. BRANCH:     We're on the video record.             We
16   had started a transcript record discussing the Georgia
17   Spine & Ortho document production in this matter in
18   response to a request for production of documents that
19   Ron Coleman sent in this matter on November 24th, 2020.
20   I just emailed that to everybody.
21             And also let me go ahead -- if I can have
22   access from the court reporter, I will share my screen.
23             THE COURT REPORTER:        Let me go ahead and make
24   you the host, and you should be able to share your
25   screen.

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 1              MR. BRANCH:     Can everybody see that?
 2              MR. JASON R. MANTON:        Yes.
 3              MR. BRANCH:     So, Mr. Smith, this is the
 4   request for production of documents that Ron Coleman
 5   sent on November 24th, 2020.        We received documents in
 6   response to that because I can show you where this
 7   certificate was actually signed, and it was returned to
 8   us.   And so the question I had is:            This morning I
 9   emailed everybody first thing this morning with a
10   copy -- a Bates-stamped copy.         We had taken an
11   opportunity to Bates stamp all the documents that
12   Georgia Spine & Orthopedics had sent to us, those 75
13   pages of Bates-stamped documents to everyone that said,
14   look, this is all we received.         And, therefore, this is
15   what our understanding is going to be, is Georgia Spine
16   & Orthopedics' full file associated with this particular
17   patient.
18              At 3:33 I received an email advising that Ron
19   Coleman, prior counsel, had been told -- or communicated
20   that Georgia Spine & Orthopedics was objecting.                   I
21   cannot find when we reviewed the documents any objection
22   that was filed by Georgia Spine & Orthopedics.                   We
23   cannot find where -- because apparently the question or
24   the issue raised was a privilege log that was produced,
25   and I have reviewed the files and see no evidence that

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 1   an objection was raised or perfected in a proper manner
 2   whatsoever.
 3             So prior to coming on video record I posed to
 4   Mr. Smith -- gave him all the time in the world he
 5   wanted to note that when we came back on the written
 6   record and video record, my question is going to be
 7   multiple, which is:     Please provide me with a copy of
 8   the objections that were filed so we can see them
 9   because we can't find any filings in the documents that
10   suggest that was done.        If it was communicated another
11   way, send us copies of that.        I haven't seen that.
12             Give us a copy of the privilege log because we
13   don't have a privilege log.        And documents that have
14   been withheld, we'd like to have categories of documents
15   that have been withheld prior to the start of the
16   deposition today.     Mr. Smith, those are the questions we
17   have.
18             MR. MANTON:        And while -- before Mr. Smith
19   jumps in, I just want to -- let's make sure this request
20   is attached as part of this deposition, I guess, which
21   is kind of -- is not the deposition we thought we were
22   taking here today.
23             But in looking at the nonparty RPD, it looks
24   like it's pretty specific what Mr. Coleman was seeking.
25   It wasn't --

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 1             I know you've used the term "whole file" a
 2   couple of times, Kevin, but the actual nonparty request
 3   refers specifically to certain categories and types of
 4   things, and I think that needs to be noted here because
 5   it's -- I don't know what's withheld or not withheld.
 6   But to the extent what Kevin is describing is being
 7   sought, my first glance at it looks a little different
 8   than what Ron actually sent in the nonparty RPD.               But I
 9   could be wrong because I just started looking at this.
10             MR. BRANCH:        Yeah.   The one we have in the
11   file includes a request for any and all documentation in
12   your file in regards to the above-named patient.               I
13   would expect that to mean what it says.            If you have a
14   document in your file -- electronic, physical, or
15   whatever -- we should have it.        And that's my question.
16   Are we going to start off --
17             MR. MANTON:        Are you referring to the letter
18   or to the -- or the actual request?
19             MR. BRANCH:        The request for production of
20   documents that we're looking at right here.             If you'll
21   look at it, we're scrolling down on the record.
22             MR. MANTON:        Okay.   I'm looking at it too.
23   Okay.   I'm going by what you actually designated, but it
24   sounds like you -- I don't know what you're looking for
25   or not, to be honest with you.        Maybe I just need to be

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 1   quiet.
 2             MR. BRANCH:        What we're looking for is honesty
 3   and candidness, is what I'm --
 4             MR. SMITH:     Right.     So here it is.        Mr. Ronald
 5   Coleman sent over a request to respond to what Georgia
 6   Orthopedic says.    That's abundantly clear.           In response
 7   to his request, I outlined about eight items here
 8   pertaining to medical records.        Georgia Spine sent over
 9   medical records and bills in response to those requests.
10             Subsequently, now you have stated that you're
11   seeking additional ... additional documents which you've
12   outlined, and I want to talk about the 30(b)(6) notice
13   that you sent over that Georgia Spine & Orthopedics
14   looked at and said this is a detailed request for
15   records housed in the 30(b)(6) which should also be part
16   of this record as well, wherein Georgia Spine &
17   Orthopedics responded back.
18             At no point did Georgia Spine & Orthopedics
19   say it was withholding documents.         That's not it.
20   Georgia Spine & Orthopedics responded back to Mr.
21   Coleman's response with the medical records and with the
22   medical bills associated therewith.
23             MR. BRANCH:        Then can we agree at this point,
24   we do not have any and all other documentation included
25   in your file with regard to the named patient, and the

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 1   named patient being the plaintiff in this case, Shawn
 2   Miller.    Is it -- can we agree that we don't have every
 3   piece of documentation in Georgia Spine's file?
 4               MR. SMITH:    As to the medical file, as to the
 5   medical record, those have been produced.            The
 6   additional information that was housed in the 30(b)(6)
 7   notice of production of documents, those were additional
 8   items that I, again, said that we can discuss -- I've
 9   sent you an email on October 27th as to discuss that.
10   That was seven days before this deposition today.                    I did
11   not receive a response.       And so when I sent the email
12   today, now I get the response of the alleged withholding
13   of the documents.
14               Now, do we agree to a 30(b)(6) deposition,
15   wherein we can ask additional questions at that time as
16   well?     So I don't know where you're getting it from,
17   that we are withholding documentation.
18               MR. BRANCH:      Because I made the request
19   because you're requested to, with regard to your clinic,
20   produce any -- there was a request -- I mean, if y'all
21   did something for Shawn Miller other than examine her
22   and treat her -- I mean, if y'all provided financial
23   services for her as her stockbroker, I get it.                 You
24   don't have records.       If all your records are related to
25   the examination and treatment of Shawn Miller, which I

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 1   think we're going to find out is the case, then we
 2   should at this point have any and all other
 3   documentation included in your file with regard to the
 4   named patient beyond a specific request.
 5               And so what I'm getting the sense of today is
 6   that you're telling me that we don't have any and all
 7   other documentation included in your file with regard to
 8   the above-named patient because I think you're
 9   representing in the file with that we do not have all
10   documentation that Georgia Spine has regarding this
11   patient.    Is that a ... is that a fair comment?
12               MR. SMITH:    That's not ... that's not fair.
13   And as stated, we had produced in response the medical
14   bills and the medical records, right, pertaining to,
15   which you have stated that if you had those, then you
16   can proceed with the deposition.
17               MR. BRANCH:      What don't we have?
18               MR. SMITH:    As stated in your 30(b)(6), right,
19   that was sent over --
20               MR. BRANCH:      We're not talking about the
21   30(b)(6).    I'm going back to November 2020, when you
22   received a response that's in front of us.             I'm asking
23   because I review this -- unless you're going to tell me
24   that you have something that doesn't pertain to the
25   treatment of this individual or examinations or if y'all

                                                                                     13
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 1   did something for her other than medical treatment --
 2   unless you're going to tell me that, then I'm expecting
 3   to know what it is and what documents that you would
 4   have that we don't have, given that Ron Coleman's
 5   request asked for any and all other documentation
 6   included in your file which regards the named patient.
 7             So let's stay in 2020.         For 2020 to today,
 8   what documents do -- does Georgia Spine have that I
 9   don't have that somehow involves Shawn Miller?                 As long
10   as it's involved in treatment -- if you're her
11   stockbroker, I don't care about that.           If it involves
12   medical treatment and her being in your clinic
13   whatsoever, then let's talk about what I don't have.
14             MR. SMITH:     So if it is your option to suspend
15   the deposition so that we can discuss those matters,
16   that's fine.    As stated before, the medical records and
17   the medical bills have been produced.
18             MR. BRANCH:        I can't suspend the deposition.
19   I didn't notice the deposition.         This is the plaintiffs'
20   deposition.    What I'm trying to figure out --
21             MR. SMITH:     With all due respect, you
22   mentioned suspending the deposition.          I didn't mention
23   that initially.
24             MR. BRANCH:        I'm trying to figure out -- I
25   don't have any option to suspend the deposition.                I'm

                                                                                      14
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 1   trying to figure out is if Plaintiff's doctor has been
 2   candid and honest in producing records.            That's what I'm
 3   trying to figure out.        Unless Jason is saying we're not
 4   taking this deposition, I can object to it, but I can't
 5   stop it.
 6               MR. SMITH:    So as stated before, the medical
 7   records and the bills were produced in accordance with
 8   the request that Mr. Coleman sent over.
 9               MR. BRANCH:      What don't we have?       Let's just
10   focus on what we don't have.        What didn't he give us?
11               MR. SMITH:    Again, as you sent over the
12   30(b)(6) notice -- because I don't want to talk about
13   this without in tandem with the 30(b)(6) notice.
14               MR. BRANCH:      You can't do --
15                (Simultaneous speakers.)
16               MR. BRANCH:      -- what documents from November
17   2020 until today have you not produced?
18               MR. SMITH:    As stated, the medical records and
19   bills.     They've already been produced.        So we keep going
20   over the same thing; right?
21               MR. BRANCH:      No.   You're ignoring my question
22   because you don't want to explain why Georgia Spine -- I
23   know why you don't want to do this because I know you're
24   looking on your screen right now and reading this.                It's
25   abundantly clear what you should have done, and you

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 1   don't want to tell me on the record what you didn't do.
 2              What records have been in Georgia Spine's
 3   possession from November 20th of 2020 to the present
 4   that I don't have?      This is going to be my last time
 5   asking because I think the records are super clear on
 6   this.   What documents don't I have?
 7              If you want to take the position you're not
 8   going to discuss it, we'll deal with that later, after
 9   this deposition.     But I'm just telling you, if I find
10   out that you have documents that I don't have that you
11   have had since November 24, 2020, to the present and we
12   take this deposition, you're going to have a motion for
13   sanctions by Monday.     As long as we're clear on that.
14              MR. SMITH:    Okay.     As stated, right -- I'll
15   say this again -- is that the medical records and bills
16   as requested by Mr. Coleman were produced.             The
17   additional information that was sent over recently by
18   you are matters that we can take up and we can discuss.
19   But our initial production was in line with what Mr.
20   Coleman requested.
21              MR. BRANCH:       I tell you what.      You sound
22   confident and comfortable in your position.             If you
23   don't want to tell me if there's no other records that's
24   not been produced, let's plow forward.           And I'm just
25   telling you -- because we've gone into this in minutae,

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 1   giving you an opportunity before we take this doctor's
 2   deposition and spending time and energy on this to give
 3   you a chance to say, "Yes, you're right," and you're
 4   refusing to.
 5               So let's go forward, and I'm going to make
 6   sure I'm communicating clearly that if I find out you
 7   have records that relate to the treatment of this
 8   individual, her involvement in your clinic, and we
 9   figure out we don't have any and all documentation
10   regarding this patient, we're going to take it up.                 I
11   just want to make sure you're abundantly clear when I
12   say that.     Here's what you know.      You know that I know
13   what you have.
14               MR. SMITH:    Let's talk about this as well.                On
15   October 27th there was an email that was sent out for us
16   to have a discussion prior to this deposition.                 We did
17   not receive a response.
18               MR. BRANCH:      This isn't concerning a 30(b)(6)
19   deposition.     I'm happy to talk with you prior to the
20   30(b)(6) deposition about your -- but today --
21               MR. SMITH:    No.   No.   No.     No.
22               MR. BRANCH:      -- we got ready for this
23   deposition, I expected to see your file that would be
24   consistently produced in response to this subpoena -- or
25   the nonparty request.

                                                                                      17
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 1                MR. SMITH:     You know what the --
 2                (Simultaneous speakers.)
 3                MR. BRANCH:        So if your position is that
 4   you've given us everything you think is requested, then
 5   we can deal with the discovery request with the Court.
 6   I'm getting a sense you're telling me you don't want to
 7   talk about the documents you haven't produced, but there
 8   are documents that you haven't produced; is that fair to
 9   say?
10                MR. SMITH:     My effort is always to move in
11   good faith.     I've already stated, hey, look can we set a
12   time to discuss these matters.           I did not get a response
13   back.    So that is my position.         And when I ask that we
14   work in good faith to set a time where we can discuss
15   these additional issues --
16                MR. MANTON:        I have a quick idea.       I'm sorry
17   to keep interrupting on this, but do you think we can go
18   off the record for about five minutes and, Kevin, you
19   and I can talk privately?           I've got a cell phone I can
20   give you.     You can give me yours, and you and I can just
21   talk about a couple of things?
22                MR. BRANCH:        I'm happy to, Jason.       Here's
23   the -- I'm trying to make a full record of this
24   because --
25                MR. MANTON:        I see.

                                                                                        18
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 1              MR. BRANCH:       -- they knew this, and Mr. Smith
 2   knows this.
 3              MR. MANTON:       Let's you and I have a
 4   conversation --
 5              (Simultaneous speakers.)
 6              MR. BRANCH:       I wanted to get this on the
 7   record.    The reason I'm asking these questions the way I
 8   am, this isn't the first go-round about getting real
 9   productions from them.       And so I'm making a record
10   because they know that I know what they have and what
11   they didn't produce.     And they know they should have
12   produced it, and we shouldn't even be having this
13   discussion.   But I'm trying to -- if they want to do it
14   this way, I'm fine with it.        But I'm telling you, we're
15   going to make issue of it.
16              MR. MANTON:       Let's take a quick break.         Kevin,
17   can you give me a phone number?         I'll call you real
18   quick.
19              THE VIDEOGRAPHER:       The time is 4:34 p.m.
20   Eastern.   Off the record.
21              (Video camera turned off.)
22              (A discussion was held off the record.)
23              MR. MANTON:       What I was talking with Kevin
24   about was trying to figure out if there's a practical
25   reason to go forward at this point or if there's things

                                                                                     19
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 1   we've got to sort out with a judge regarding some of
 2   these things, relevancy and whatnot, because my concern
 3   is, I don't want to go forward with the deposition here
 4   today and then, depending on how -- if there's documents
 5   that haven't been produced and the judge says that
 6   they're relevant, then we have to come back and do this
 7   deposition again.    I'm trying not to be redundant here.
 8             At the same time, I'm very concerned that we
 9   are coming up -- discovery is going to end soon, and,
10   you know, we're on a tight calendar.          And it's -- Dr.
11   Bendiks is busy, rightfully so, as we all are.                 So it's
12   not always easy to get everybody together for one of
13   these depositions.    So when we finally got it done --
14   it's been noticed for a long time -- these things are
15   coming up at the last minute.        That's kind of
16   frustrating to me.    I think Kevin wanted to ask Alex a
17   couple of things about some particular types of records,
18   if they've been relevant or not or produced or not.
19   I'll let him take it from there.
20             MR. BRANCH:        We're back on the record for
21   video and record.    I'll ask this question.           I think this
22   will help us understand.        Can everybody see my screen?
23             MR. MANTON:        Yes, sir.
24             MR. BRANCH:        Mr. Smith, do you have an audit
25   log for this patient that would look like this?                And,

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 1   second, are there Pencil notes for this client that
 2   would look like this?
 3               MR. SMITH:    As noted before --
 4               THE VIDEOGRAPHER:        Mr. Smith, do you want me
 5   to start recording everybody?
 6               MR. MANTON:      I don't think we need the video
 7   for this.     I think just the court reporter is fine.
 8               MR. SMITH:    Hold on one second because I want
 9   to be clear as to this particular document which you're
10   showing me.     Where is this document from?
11               MR. BRANCH:      These are redacted copies of
12   documents that we received from you in other cases that
13   we know exist and have 30(b)(6) testimony about when
14   they were produced and what they were used for.                And so
15   my question is:     Do you have each type of these
16   documents for --
17               MR. SMITH:    One thing, I would hope that's not
18   a document that was under a confidentiality order that
19   was not supposed to be shown onscreen.           I would hope
20   that.   So let's note that first.
21               MR. BRANCH:      Yeah.    It was a redacted
22   document.     Answer the question:       Do you have a document
23   like that for Shawn Miller?
24               MR. SMITH:    As stated in the request that Mr.
25   Coleman sent over --

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 1                MR. BRANCH:     That's not my -- I don't want to
 2   hear that.
 3                (Simultaneous speakers.)
 4                MR. SMITH:    The request that was sent over by
 5   Mr. Coleman that requested documents regarding the
 6   medical treatment and the examination of Mr. Shawn
 7   Miller -- those documents were produced.            You have now
 8   stated that you wanted additional documents specifically
 9   regarding counsel notes that are administrative
10   documents.     You also stated that you wanted other
11   documents that were outlined in your notice to 30(b)(6).
12                MR. BRANCH:     I want to clarify on the record.
13   Is it going to be your position that there will be
14   nothing in the Pencil notes that will resemble or
15   reflect a document related to an examination or
16   treatment of this patient whatsoever?           That's your
17   position?
18                MR. SMITH:    My position is, is that the
19   examination of the patient -- all those documents,
20   right, are within the medical records that were
21   presented to you.
22                MR. BRANCH:     So I mean --
23                MR. SMITH:    Administrative communications are
24   never --
25                (Simultaneous speakers.)

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 1             MR. BRANCH:        Can we agree that you have Pencil
 2   notes, that you have an audit log for Shawn Miller but
 3   we just don't have them because it was your
 4   interpretation they don't -- they don't do any --
 5   they're not documentation related to treatment; is that
 6   your position?
 7             MR. SMITH:     Let's not misconstrue my
 8   interpretation versus the interpretation that was
 9   provided via the document production --
10             MR. BRANCH:        I just want to know if you have
11   that kind of documentation for Shawn Miller.
12             MR. SMITH:     As I already stated, when we're
13   talking about the 30(b)(6), I've already said we can
14   provide the supplemental information.           But we just --
15             (Simultaneous speakers.)
16             MR. BRANCH:        -- do you have that type of
17   document for this patient?        You said your position is
18   you didn't give it to us in response to the November 24,
19   2020, request for production because they don't relate
20   to treatment.    That's your position?
21             MR. SMITH:     You have the medical records and
22   the bills related to that Mr. Coleman requested, as he
23   said that you have all the records regarding the
24   examination of the patient.
25             MR. BRANCH:        Did you receive the November 24,

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 1   2020, request for production of documents on the screen?
 2   Is there any dispute about that?
 3               MR. SMITH:     Can you say that one more time for
 4   me?
 5               MR. BRANCH:        Is there any dispute that Georgia
 6   Spine received a November 24, 2020, request for
 7   production of documents that I showed on the screen?
 8               MR. SMITH:     We received that.
 9               MR. BRANCH:        That's why I want to make sure I
10   understand your position.          Your position is that the
11   Pencil notes and other documentation and Care Cloud
12   system don't include -- that is not documentation that
13   relates to her treatment?          That's your position?
14               MR. SMITH:     We're rehashing this same thing
15   over and over and over again; right?            So as I've stated
16   before, we can discuss those additional productions that
17   you outlined.     We can definitely do that.           I'm amenable
18   to that.    I've never stated that I'm not.            So if we want
19   to take that up, that's fine.          I think we've already got
20   a record that's clear as to my position.              And so if you
21   want to take it up additionally regarding those other
22   documents, that's fine.
23               MR. BRANCH:        Okay.   So is it your position
24   that we should have every clinical note, every
25   diagnostic image, and any record whatsoever that finds

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 1   what Dr. Bendiks reviewed and the care he provided to
 2   this patient?   We should have those?
 3             MR. SMITH:     You should have those.           As to the
 4   additional documents, I've stated -- and I'll continue
 5   to state it -- that we can take that up, and we can
 6   discuss that.   This is a -- we're a nonparty in this
 7   matter, and so I want to make their productions to
 8   y'all.
 9             MR. BRANCH:        So I just want to make sure that
10   I get the audit log, and the Care Cloud records is not
11   going to have anything in there that's going resemble --
12   or relate to treatment?        It's going to show us something
13   else like y'all were her stockbroker or consulting with
14   her or decorating her house?        None of that in there --
15   anything in there that's going to relate to a clinical
16   visit, a treatment that she received at your facility?
17             MR. SMITH:     As you noted, the information that
18   Dr. Bendiks reviewed in treating the patient, that's --
19   those items have been produced.         Now, if you're talking
20   about the administrative documents that were outlined in
21   your 30(b)(6), those additional documents are not
22   documents that we can discuss, and Georgia Spine does
23   not have a qualm with making additional productions.
24             MR. BRANCH:        Well, yeah, if we're going to
25   look at the documentation that you sent over and I don't

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 1   have to -- I'm not going find there really was another
 2   piece of diagnostic image or somebody else's medical
 3   records within the file or if there's other intake
 4   sheets or anything like that?          I have everything?          Then
 5   let's go forward, and I'll do a 30(b)(6) on all these
 6   other issues.
 7                But, you know, I am taking the position if we
 8   get those records and they relate to treatment of this
 9   patient, then I'm going to take the position that this
10   deposition went forward with a bad-faith document
11   production, and we will address it.             We'll leave it to
12   you because you know what's in those records.                But I
13   take the position unless they're related to something
14   that doesn't involve Dr. Bendiks laying hands on this
15   lady or getting her medicine or trying to figure out
16   what was wrong with her body, that's documentation in
17   the nature of treatment.         So understand my position.
18   But.
19                MR. SMITH:     Okay.    I'll just -- I'll finally
20   state I can't weigh in on whether you should suspend the
21   deposition or not.        What I can tell you is that the
22   documents that were produced were the medical records
23   that Dr. Bendiks relied on and he created in his
24   treatment of the patient.           The additional documents are
25   regarding administrative documents which you outlined in

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 1   your 30(b)(6), and we did not have an issue producing
 2   that.   We can do a confidentiality agreement because
 3   some of those productions are regarding trade secrets
 4   and HIPAA-protected information; right?
 5             MR. BRANCH:        Yeah.     I don't --
 6             MR. SMITH:     We can take it up at a later time.
 7             MR. BRANCH:        It's your decision as to whether
 8   you think you're comfortable explaining to the Court
 9   that whatever you withheld doesn't relate to treatment
10   of this patient.     If you're comfortable with that
11   position, you're going to have to take it if those
12   documents reflect it because I'm getting ready to take
13   this deposition based on your representations that
14   there's nothing that's been withheld that relates to the
15   treatment of this patient.           Let's go.
16             MR. MANTON:        Are we ready?
17              THE VIDEOGRAPHER:         Madam Court Reporter, I'll
18   ask you to swear in the doctor on the record, and I'll
19   start the video right now if everybody's ready.
20              (Video camera turned on.)
21              THE VIDEOGRAPHER:         We're on the record.           The
22   time is 4:50 p.m.
23             Madam Court Reporter, would you please swear
24   in the witness.
25                       ERIK T. BENDIKS, M.D.

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 1   was sworn as the witness.
 2             MR. MANTON:        This will be deposition of Dr.
 3   Erik Bendiks, taken by the plaintiff in this case.                The
 4   deposition will be for purposes of preservation of
 5   evidence, for use at trial, and all other purposes as
 6   allowed by the Georgia Civil Practice Act.
 7             Kevin, normally I say it's being taken for
 8   trial and make all the objections here today, but I
 9   think maybe with this one, it might be better to do a
10   standard -- you know, we reserve the objections, except
11   as to form of the question and responsiveness of the
12   answer.
13             MR. BRANCH:        I'm fine either way.
14             MR. MANTON:        I think we probably ought to
15   reserve objections except as to form and response.
16             MR. BRANCH:        Sounds good.
17                            EXAMINATION
18   BY MR. JASON R. MANTON:
19        Q    Doctor, if you could give us your full name.
20        A    Erik Thor Bendiks.
21        Q    And could you tell us what your profession is?
22        A    I'm an orthopedic spine surgeon.
23        Q    Are you licensed in Georgia?
24        A    Yes.
25        Q    How long have you been licensed in Georgia?

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 1        A    Since 2002.
 2        Q    And are you in private practice right now?
 3        A    Yes.
 4        Q    What's the name of your practice?
 5        A    Georgia Spine & Orthopedics.
 6        Q    Where are your practice locations?
 7        A    We have offices in Marietta, Roswell, Sandy
 8   Springs, Tucker, Stockbridge, Columbus.           I'm in our
 9   Tucker office.
10        Q    Where did you go to medical school?
11        A    I went to medical school at UT Southwestern in
12   Texas in Dallas.
13        Q    When did you graduate?
14        A    '96.
15        Q    Are you board-certified?
16        A    Yes, in orthopedic surgery.
17        Q    Can you explain to the jury what it means to
18   be board-certified?
19        A    Board-certified means that I attended an
20   accredited orthopedic surgery residency, which is a
21   five-year program.    During that time you have to have
22   passed all of your written and oral exams.            And then
23   after finishing all your training, you're then tested on
24   your first two years of patients that you care for for
25   the first two years, with additional written exams.

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 1   Once you've passed all of those tests, then you're
 2   deemed board-certified in orthopedic surgery.
 3           Q   Doctor, do you have in front of you -- and we
 4   can send it to the court reporter as well.             It's labeled
 5   as Exhibit 1, a copy of your CV.          If you could take a
 6   look at that and confirm if it is, in fact, an accurate
 7   copy of your latest CV.
 8           A   Yes, it is.
 9               MR. MANTON:      At this time I want to attach the
10   CV as Exhibit 1 and tender as well.
11               (Plaintiff's Exhibit No. 1 was marked for
12   identification.)
13               MR. BRANCH:      Do you want to share it on the
14   screen so we can see it as well?
15               MR. MANTON:      I thought the court reporter
16   could, but it doesn't sound like she can.            I cannot; so
17   that's why I sent everything to you.          The only thing
18   that we're going to be using is that CV, the medical
19   narrative report, and the two illustrations that you
20   have.
21               MR. BRANCH:      I'm sorry.   Was something sent
22   today?
23               MR. MANTON:      Yes.   It was this afternoon.
24               MR. BRANCH:      I'm just getting it.
25               MR. MANTON:      It was sent at 2:29.

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 1             MR. BRANCH:        I found it.      All right.        Go
 2   ahead.   Sorry about that.
 3             MR. MANTON:        So, Ms. Court Reporter, did you
 4   get that down?     We attached the CV into the record.
 5              THE COURT REPORTER:          Yes, I did.
 6        Q     (By    Mr. Manton)        Dr. Bendiks, the reason
 7   we've asked you to be here is, I understand you're a
 8   treating physician for Shawn Miller.
 9        A     Yes.
10        Q    When did you first see Shawn as a patient?
11        A    March 25th, 2020.
12        Q     I'm sorry.     When did you first see her?
13        A    March 25th, 2020.
14        Q     Did you see her July of 2019?
15              THE WITNESS:       I'm sorry.      I'm reading the
16   wrong numbers.
17             MR. MANTON:        That's okay.
18              THE WITNESS:       Yes.     They're out of date here.
19        A    All right.      Looks like July 31st, 2019.
20        Q     (By    Mr. Manton)        Doctor, there's also a
21   medical narrative that you prepared in your file that I
22   provided to all the parties and the court reporter today
23   labeled here as Exhibit 2.
24        A     Yes.
25        Q     Do you have a copy of that?

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 1           A      September 17th, 2020.
 2           Q      If you would, take a look at that and if you
 3   would, confirm that that is a narrative that you
 4   prepared.
 5           A      Yes, it is.
 6           Q      Is that your signature on page 4 of the
 7   narrative?
 8           A      Yes, it is.
 9           Q      If you could, please take a second to look at
10   that.       And could you confirm that it's an accurate
11   summary of your treatment and opinions for Shawn Miller?
12           A      (Witness complies.)     Yes, it is.
13           Q      Now, one thing, that narrative report is not
14   notarized; correct?
15           A      Correct.
16           Q      Can you tell us now under oath whether not
17   that narrative is a truthful and accurate summary of
18   your treatment and opinions of Shawn Miller?
19           A      It is.
20           Q      And have you reviewed that narrative report
21   before today's deposition?
22           A      Yes.
23                  MR. MANTON:   And at this time we would attach
24   that as an exhibit to the deposition.
25                  And, Kevin, I'm not trying to put that into

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 1   evidence to go back to a jury.          I know there's a
 2   medical-narrative statute that would apply, but to the
 3   extent that it is an exhibit here in the deposition and
 4   he's referring to it, we're attaching it to his
 5   deposition.
 6                 MR. BRANCH:    Yes.    And I would just object to
 7   much of this as the basis of knowledge, lack of
 8   foundation.
 9                  (Plaintiff's Exhibit No. 2 was marked for
10   identification.)
11           Q      (By Mr. Manton)      Dr. Bendiks, if you could,
12   please describe to us what symptoms or problems that
13   Shawn had when she first tame came to see you.
14           A     At the time she came in, she was noting neck
15   pain and headaches after a collision on November 19,
16   2018.       Those were her main concerns.
17           Q     And what kind of pain was she complaining of?
18           A     We describe or quantitate the pain based on a
19   10-point scale.       So zero is no pain.     10 is the worst
20   pain imaginable.       5 is somewhere in the middle.           She was
21   relaying that her pain was a little more left sided and
22   was anywhere from a 3 to 6 in intensity and worse with
23   movement of her neck and also some pain that was
24   shooting off into the arms as well.
25           Q     And what is your understanding of how long

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 1   she'd been experiencing that pain prior to seeing you on
 2   that appointment date?
 3           A      Since the collision that she had been in,
 4   which was about nine or so months before, November 19,
 5   2018.
 6           Q     And what is your understanding of the medical
 7   treatment that she had already been through before she
 8   came to you as a patient?
 9           A      She related having seen several different
10   specialists after the collision.        She first went to the
11   emergency room.       After that she went to Windemere
12   Medical Clinic.       Then she received several sessions of
13   physical therapy.       Unfortunately, she continued to have
14   pain.       She then went and did several sessions of
15   chiropractic care.       Unfortunately, the pains continued.
16   She then went to a pain clinic called Summit Pain and
17   had multiple injections in her neck.          After the rounds
18   of injections, they had given her some good to temporary
19   relief.       She then was seeing her primary care doctor and
20   continuing with chiropractic care.           And then she came to
21   visit with us after that.
22           Q      If you could, take us through what you did for
23   Shawn at that first appointment when you saw her.
24           A      In her first visit we took her history, so
25   what was going on with her.       We reviewed an MRI that she

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 1   brought with her.    MRI is basically a high-powered x-ray
 2   that looks at the soft tissues on the body.            So it looks
 3   at nerves, discs, muscles, ligaments, things like that.
 4   And that was done of her neck.       She had a couple of MRIs
 5   of her neck, one in January of 2019 and later on.                I
 6   think 2020.    But the one in 2019 is the one that we
 7   reviewed.
 8               After going over her symptoms and her
 9   treatment, we then did a physical exam on her.                What was
10   a physical-on-physical exam was difficulty with motion
11   in her neck and guarding with motion and pain with range
12   of motion in her neck.       There was also some nerve
13   irritation going in the neck caught by a Spurling
14   maneuver, and that was positive on the left side.                And
15   she had noted some signals that were a little bit worse.
16           Q   What did you say was positive on the left
17   side?
18           A   The Spurling test is tilt the head back and to
19   the right and then to the left, and then you also put
20   some direct pressure down.      And what that does is, it's
21   closing down the little holes where the nerves come out
22   and go off into the arms.       If there's something filling
23   up that hole, then there will be less room for the nerve
24   and potentially could result in pain.
25               So, for instance, if you have a disc

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 1   herniation -- a disc herniation is a -- the discs in the
 2   neck are the moving parts.      They're basically jelly
 3   doughnuts and shock absorbers.       And if you absorb too
 4   much shock in the jelly doughnut, some of that jelly
 5   comes squeezing out.     And it can squeeze out and push in
 6   the hole where the nerves are coming out.            If you
 7   accentuate that position and the disc is damaged on that
 8   side and squeezing out, the nerve will get irritated,
 9   and you can have some pain that shoots off into the left
10   side of the neck in the left arm.        And she had that on
11   the left side.
12                And then after that we also checked other
13   tests on physical exam.      You want to make sure that this
14   supposed neck pain isn't coming from something else.                 It
15   could be coming from a shoulder problem.            So you want to
16   evaluate the shoulder, and we did.           We evaluated her
17   shoulder, and she did not have any problems with the
18   shoulders.     So I didn't think this was a shoulder issue.
19   It seemed to be more focused from the neck.             We reviewed
20   some X-rays of her neck and then came up with a
21   diagnosis and treatment plan for her.
22        Q       What was the diagnosis that you came up with?
23        A       The MRI showed two damaged discs in her neck,
24   C4-5 and C5-6 disc herniations.        So some of the jelly
25   had squeezed out.     The x-rays also showed straightening

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 1   of her neck.   Straightening of the neck is not a normal
 2   finding.   That's a finding that results from muscle
 3   spasms usually related to some type of injury.                And so
 4   that can go along with the injury that she had had.                So
 5   we did the x-rays, the physical exam, and the MRI, her
 6   history together, and I diagnosed her with painful disc
 7   damage at the C4-5 and C5-6 discs in her neck.
 8              I told her at that time -- she had already
 9   gotten conservative care.      So in necks we'd like to see
10   if we can give it -- at least give it a good two to
11   three months to see if it will get better.            And in her
12   particular case, she'd already gone well beyond that
13   nine or so months approximately, with time, rest, pills,
14   therapies, and injections.      And those are all the
15   conservative-care options at our disposal as spine
16   specialists.
17              If the time, the rest, the pills, the therapy,
18   and the injections don't help, that's when we consider
19   either living with it or considering surgery.             In her
20   particular case, I felt that surgery would have a good
21   option of helping her.       So I told her at that time I
22   believe her pain is coming from those two damaged discs
23   and your best option would be to do a surgery to remove
24   the damaged discs and replace that with synthetic
25   artificial discs.

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 1           Q      And just so we're clear, when you refer to it
 2   as a damaged disc, are you -- is that the same as a
 3   herniated disc in this case for Shawn?
 4           A      Yes.
 5           Q      And I know you touched on herniated discs
 6   before.       If you could, I'd like for you to just explain
 7   to the jury what a herniated disc is in relation to
 8   Shawn's condition.          And I know you've got a medical
 9   exhibit board there that sets forth her injuries.                    If
10   you could refer to that.
11                  THE WITNESS:     Okay.     Let's see what we can do
12   here.       Let me turn this.        Let's see.   I don't know if
13   that's easily visible or not easily visible.                  Do I need
14   to bring the computer closer?
15                  MR. MANTON:     I can see it.
16                  THE WITNESS:     I can put it closer.
17           A      It says "Shawn Miller Cervical Injuries."
18   Those are -- "cervical" mean neck injuries.
19           Q      (By     Mr. Manton)     Okay.
20           A      We have a spine here.
21           Q      Doc, before you go further, I need to ask you:
22   Is that illustration a fair and accurate representation
23   of Shawn's neck condition?
24           A      It is.
25           Q      Okay.     So if you could then, just explain what

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 1   Shawn's condition and injuries were.
 2        A     These will be able to help me be able to
 3   explain it best.    So what we're dealing with here is the
 4   MRI view, and then this is the schematic -- the picture
 5   of what we're seeing on the MRI.
 6              So the spine is made of balls called vertebrae
 7   that are separated from each other by joints called
 8   discs.   These are the joints.      These are the discs right
 9   through here.   Okay.    And then the helpful thing is,
10   discs have a soft, squishy center, and they have a hard
11   outer shell, just like a jelly doughnut.            And it allows
12   for motion, and you can have movement there.              It also is
13   a shock absorber, and so if the discs experience more
14   energy or shock that's more than what the discs can
15   handle, it can get damaged.
16             When a disc experiences shock, what happens
17   is, the bones come together.       That pushes on that center
18   section, the center jelly section.           And the center jelly
19   section will push out towards the edges, front, back,
20   left, right.    The whole goal of that outer wall, that
21   tough outer shell, is going to hold that jelly in the
22   center and keep it from moving.        If that shock, though,
23   is more than what the wall can handle, that can get
24   torn, and then jelly can squeeze out of the doughnut.
25             What we're seeing here is, this is a normal

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 1   disc right here, 2-3 disc.      This is -- it says "C3"
 2   right here.     That's short for Cervical 3, or the No. 3
 3   neck bone.     That's the 4 neck bone.       That's the 5.
 4   That's the 6 and then the 7 neck bone when we describe
 5   the disc, based on above and below.          This disc which is
 6   the 3-4 -- C3-4.     It's between the C3 bone and C4 bone.
 7   And this down here, this disc right here, is the C5-6
 8   disc because it's before the C5 bone and the C6 bone.
 9                And what we saw in Shawn's case was that there
10   was damage at these three discs, 3-4, 4-5, and 5-6 but
11   most notably at the 4-5 and 5-6 level.          And these --
12   this schematic shows a little bit of bulging going on
13   here, more so with the jelly squeezing out of the
14   doughnut here and more so at the 5-6 level as well.               And
15   problem is that along that back wall, there's little
16   nerve fibers in that back wall.        Those nerve fibers get
17   scratched and irritated, and you feel pain.
18                Then on top of that, some of the chemicals
19   that are inside the disc that do a great job of being
20   shock-absorber chemicals, they're also supposed to do
21   the job in here.     They -- unfortunately, if they escape
22   from there, they can be very irritating to the
23   surrounding structures out here such as the bones that
24   are back here.     So this will cause a lot of pain and
25   spasm and burning and tingling.        It's great until it

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 1   gets damaged.
 2              What we're seeing on the MRI view, which was
 3   done on January 12th, 2019, as well as an MRI of Shawn,
 4   this is the No. 2 bone.      That is No. 3 bone.         And here
 5   is the 4 and 5.     And we can clearly see jelly squeezing
 6   out of the doughnut.     The simplest way to look at this
 7   right here, this disc right here is 6-7 disc right here,
 8   totally normal, completely flat.
 9              And what we're looking at back here is the
10   spinal cord.     That's this yellow structure right here,
11   which is gray on the MRI.      And the white around it is
12   the fluid, and that's good.       The fluid acts like an
13   airbag.   It's there to protect the spinal cord.              That's
14   a normal finding.     But we can clearly see, there's less
15   space right here, less fluid, because the jelly squeezed
16   out the back.     And then it gets back to normal.            It got
17   back to normal up here.      And there's a little bulge here
18   at this level.     But the majority of her troubles are
19   right here and right here.      I think a component of her
20   pain is also coming from this level, but I felt the
21   majority of the problem was here.
22              If we look on this view, these views over
23   here, what we're looking at is the places called axial
24   views.    That's basically taking a cut -- cutting right
25   through the neck, cutting through the body like a

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 1   sausage, and looking at the -- looking straight down
 2   from the head towards the legs; okay?             Then that L is
 3   for left, and R is for right.
 4                What we're seeing here is, once again, the
 5   disc, the tough outer wall, all the way over here.
 6   We're looking at the 4-5 disc right here, and we've seen
 7   some of jelly has now torn through that back wall.                     It's
 8   not big and thick like it should be.            It's been torn,
 9   and so then the jelly is squeezing out the back.                 And
10   that's causing some irritation and pain right here, and
11   that's what we see in this view.
12                This is the MRI view -- same MRI from January
13   12, 2019.     And we see there's narrowing of that space
14   right through here, and some of the disc is bulging out
15   at the 4-5 level.       This is a hole where there's going to
16   be a nerve shooting out into the right arm.               This is
17   going to be a -- you can barely see a wisp of gray.
18   That's going to be the nerve shooting off to the left
19   arm.
20                In the next cut -- axial cut is looking at the
21   next disc down, the 5-6.         It's sliced right through
22   here.    That's what this looks like.           Once again, this is
23   the front.     This is -- the throat is over here.               The
24   back of the neck is here.         Right side over here, left
25   side over here.      This is a nerve shooting off into the

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 1   right arm and nerve shooting off into the left arm.
 2   Once again, we have a nice, thick wall of cartilage all
 3   the way around the sides and front, but the back wall
 4   has been torn through, and the disc material is
 5   squeezing out the back.
 6         Q     Okay.    And just a couple of little
 7   housekeeping questions to ask.         Are the MRI images on
 8   the board fair and accurate representations of Shawn's
 9   actual MRI films?
10         A     They are.
11         Q     Is it a part of your normal practice to review
12   MRI films of your patients?
13         A     It is.
14         Q     So how would a medical condition such as
15   reflected on those boards affect a patient like Shawn?
16         A     Well, when once you damage that back wall, all
17   those nerves are set off.        They're firing constantly,
18   and those nerves can give you the sensations of pain.
19   Those nerves, depending on what they go to -- if they go
20   to muscles, they can cause spasms.
21               Her x-rays -- her neck was straight as a
22   board, and I can show that on pictures later if we need
23   to.   And that's not good.       You're not supposed to have a
24   straight neck.       Your neck's supposed to a nice gentle
25   curvature to it, and hers does not.            Those nerves were

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 1   firing to the muscle.        The muscle causes spasms, and
 2   sometimes those muscles will -- when they fire can also
 3   cause tension headaches.        And she does have some
 4   headaches which is -- a component of her headaches could
 5   be from muscle tension.       And she also -- I believe she
 6   complained of some pains shooting off -- discomfort
 7   shooting off into the arms, irritating these nerves
 8   going off into the arms.        And that can give her the
 9   sensations that she's having, going off into the arms.
10        Q    These herniated-damaged discs that you refer
11   to for Shawn, is that a normal part of your practice to
12   treat patients with those conditions?
13        A    Yes, it is.
14        Q    Did Shawn have symptoms that were consistent
15   with someone --
16             MR. BRANCH:        Scratch that.    Strike that.
17        Q    (By     Mr. Manton)     Did Shawn have symptoms
18   consistent with someone who has multiple herniated discs
19   in her neck?
20        A    Yes.
21        Q    So at this point after you reviewed the
22   initial MRI and met with Shawn -- I know you touched on
23   it a little bit -- what happened next as far as your
24   recommendations for Shawn at that point?
25        A    I told her, you know, at this point you've

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 1   exhausted conservative care.       You've done it all:          Time,
 2   rest, pills, therapy, injections -- multiple injections.
 3   I don't have any more options.       You can try to live with
 4   it or consider surgery for it.       But at this point there
 5   was nothing more that I thought that would be different
 6   that would give her a chance for established relief.
 7              She ultimately decided to see if she could
 8   live with it.    I believe she ultimately pursued some
 9   more pain-relieving treatments after getting some second
10   opinions with other different doctors.          She did some
11   other pain-relieving treatments that, unfortunately,
12   didn't really give her long-term help.          And she tried
13   pills as well, but the pills really weren't doing it
14   either.    She ultimately came back to see me March 25th
15   of 2020.
16        Q     So as a doctor, did you have any kind of
17   objection or problem with Shawn trying any other
18   nonsurgical treatment options, even though you
19   recommended the surgery originally?
20        A     No, not at all.     I'm a spine surgeon.           So when
21   I tell people to consider a surgery, that's very likely
22   to be the biggest surgery that they ever have in their
23   entire life.    That's a rather daunting thing.           I also
24   try to be very careful to tell my patients, listen, this
25   is causing pain, but I think chances of being paralyzed

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 1   is very low.         It's not zero but really low by not having
 2   surgery.
 3                 So I don't want to over-call it via
 4   sky-is-falling surgeon.        I want to let them know, you
 5   got some damage there.        If you can suck it up and live
 6   with it, I can live with it.         If you can't, okay.           Then
 7   we need to consider the next step.             But for a person to
 8   be told I'm going to have to cut their neck open and
 9   there's a risk of death or paralysis, I could understand
10   why they would want to think about it, see if maybe some
11   other options might work better for them.
12           Q     So I think you mentioned it, but can you just
13   point out again:        When did you next see Shawn after
14   that?
15           A     March 25th, 2020.
16           Q     Okay.    And can you take us through that point
17   in your evaluation of Shawn after she came on March 25
18   of 2020?
19           A     Yes.    At that point she was about a year and a
20   half out from her injury.         She went and visited with
21   another spine surgeon, Dr. Velez, and then also visited
22   with pain specialist Dr. Patel.          She received more
23   injections in her neck, more pain-relieving procedures,
24   and then was recommended even more injections beyond
25   that.       Ultimately, she pursued just trying to live with

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 1   it, take various different pain medications to try to
 2   keep the symptoms under control.           But, unfortunately,
 3   that really wasn't working for her.             So that's why she
 4   came back.
 5        Q       All right.      And did you ultimately perform
 6   surgery on Shawn's neck?
 7        A       Yes.    Yes.     Ultimately I said, you know, I
 8   don't think I have another option.              There's not a new
 9   wrinkle here.       It's still the same two damaged discs.
10   We got an updated MRI because the previous one was
11   getting a little old.          The updated MRI was done March
12   20, 2020, and it still basically showed the same thing,
13   two damaged discs.          So at that point, we ultimately
14   proceeded with the surgery.          She had a neck surgery, I
15   think, done on June 8th, 2020.          And we continued to
16   follow her.
17        Q       What would you call that surgery, that surgery
18   that you did on her?
19        A       The surgery that we did for her was disc
20   replacement.        So it's basically changing the two damaged
21   discs for maintenance.          You change out flat tires for
22   new tires.
23        Q       And I want you to, if you could, explain to
24   the jury what that disc replacement surgery involved and
25   how it works and --

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 1        A    Sure.
 2        Q    Is there an illustration that you have there
 3   that can help explain it to the jury?
 4        A    Yes.
 5             THE WITNESS:        I'm going to go ahead and turn
 6   around and put that up.
 7             MR. MANTON:        Before you start talking about
 8   it, once you get it up, if you'll just pause a minute,
 9   I've got another question for you.
10             THE WITNESS:        All right.      Okay.   So we've got
11   the other visual aid here.           Can I go ahead and turn
12   around?
13             MR. BRANCH:        Yeah.
14        Q    (By Mr. Manton)        Can you turn it around so we
15   can see it?
16        A    Yeah.     Hold on a second.
17             MR. MANTON:        I think you need to raise your
18   camera a little bit.
19             THE WITNESS:        Working on that.
20             MR. MANTON:        Okay.
21             THE WITNESS:        Okay.
22        Q    (By     Mr. Manton)        All right.   So let me ask
23   you, first:     Is that illustration board a fair and
24   accurate representation of the surgery that you
25   performed on Shawn Miller?

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 1           A     Yes, it is.
 2           Q     And would that board be helpful to you in
 3   explaining to the jury the surgical procedure that you
 4   did on Shawn?
 5           A     Yes, it would.
 6           Q     All right.    If you could, then, explain to the
 7   jury this surgical procedure that you did on her neck.
 8           A     Sure.   Over we have schematics that are A
 9   through F.      Beginning here we have Shawn asleep and face
10   up on the operating room table.          And then what we'll do
11   is, we'll make an incision on the neck.             Once we make
12   the incision on the neck, there are muscles that we have
13   to spread apart and move out of the way.             Once we get
14   past the muscles, then we start to get in more expensive
15   real estate.      There's blood vessels here, the carotid
16   artery and vein and nerves coming up and down here.                   So
17   we have to gently move those to the side.             And then the
18   throat and the windpipe are in the middle.              We have to
19   move that in the other direction.
20                 Once we pull those tissues apart, we actually
21   put in a metal contraption that pulls everything in
22   place called a retractor.        And that's depicted right
23   here.       This little metal contraption actually has arms
24   in it that will hold the tissues out of the way.                And
25   then we'll actually see the bones of the spine, and then

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 1   we have to use a special x-ray machine to count
 2   vertebrae.     We have a portable x-ray machine that will
 3   count the bones.     We can then identify which bones and
 4   then consequently know which discs are troublemakers.
 5                In order to remove the disc material depicted
 6   right here, we have to first put in screws into the
 7   bones.     And then with a special instrument, we'll spread
 8   those apart, and that jacks open the disc space a little
 9   bit more and allows us to be able to get in there and go
10   all the way to the back so that you can see the spinal
11   cord and take pressure off the spinal cord.            In order to
12   do that, we first make an incision with a knife, cutting
13   open the disc.     And then we use specialized instruments
14   here called pituitaries to tear out the material.               Then
15   we'll have to do that at the C4, and we have to do that
16   at C5-6 level; okay?
17                This next picture here in No. C shows a
18   different type of instrument coming          in all over that.
19   Once you remove most all of the material, you start by
20   removing material from the front and work your way
21   slowly to the back; otherwise, you can paralyze the
22   patient.     We're gently teasing that material out.            And
23   then once you get to that back wall, or what's left of
24   the back wall, we to have take that -- more tissue down,
25   which is what this little instrument is doing, removing

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 1   the last vestiges of any tissue that are left back here.
 2   And that's a different type of instrument that we use.
 3                Next, we have what we see down on View D is
 4   ends of bones, this end, that end.           They're called end
 5   plates.    We have to scrape those to remove any little
 6   bits of cartilage so that when we put the implant in, it
 7   will fit properly.     That will be depicted right here,
 8   with the special instrument called a curette to scrape
 9   that little bit of bone which will then break down that
10   little bit of leading bone.
11                And once we've done that, then we have to go
12   ahead and take this little artificial disc implant and
13   put it in there.     But we have to size it.         We have to
14   get the right size.     It's kind of like measuring your
15   shoe size.     It's not one size fits all.         We have all --
16   there are different sized implants.          We'll do different
17   trials until we get the one that looks and fits the
18   best.     And then based off that trial we'll then pick the
19   final implant.
20                And what we're seeing here is, the implant is
21   loaded onto a special instrument called a jig, and then
22   we insert it gently into the disc space.            So we have to
23   hammer it back into place and make sure that we gently
24   hammer it and not push it back to the spinal cord and
25   damage the spinal cord.      Here we've already implanted it

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 1   at the 5-6 level and 4-5 level.
 2               Finally, this is the screw here as what it's
 3   going to look like here after surgery.          On side view we
 4   see the two metal implants.       There's a plastic core in
 5   the center.       That's why you can see through it.          This is
 6   what it looks like on the schematic with the two
 7   implants in place.       They're called M6.     It's just a name
 8   of a random implant.       There's different types of
 9   implants.     Chevy, Ford, whatever, this one's called M6,
10   and it allows for continued movement here.            It basically
11   replaces the disc.       And it's not as good as our
12   God-given discs, but it's a very effective implant.
13               And these are final views that we see right
14   there.     It's an X-ray that was taken on August 10th,
15   2020, showing the implants in the new position.
16        Q      (By    Mr. Manton)   After the surgery what
17   happened next in Shawn's course of medical care?
18        A      After her surgery we then followed her for
19   routine postop visits.       She began to notice improvement
20   in her neck pain, as well as the headaches with time.
21   And we were able to wean her off medications after the
22   surgery.    And then she said she was feeling pretty good
23   as we continued to follow her all the way up through our
24   visits into 2021.       I think our final visits with her
25   were in September of this year, of 2021.           And at that

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 1   point she was doing well.      She'd already completed
 2   physical therapy, and so we discharged her.
 3        Q     Okay.   And I was going to ask you about that.
 4   Did she have to complete a course of physical therapy
 5   following this surgery?
 6        A     Yes.    Yes, she did.
 7        Q     And how long is that rehabilitative physical
 8   therapy customarily for a surgeon -- for a patient like
 9   Shawn?
10        A     Everybody is different.       You have to customize
11   it to the individual patient.       But it's usually six to
12   12 visits, somewhere in that general range.            It just
13   kind of depends on the individual --
14        Q     Was Shawn in that general extended range of
15   completed physical therapy?
16        A     Yes.
17        Q     So is Shawn's surgery considered a successful
18   outcome?
19        A     It depends on how you measure it.           I measure
20   it on a patient that's happy that she no longer has the
21   problems she came with.      And, yes; she said she's
22   better.    The pains that she had before surgery are now
23   much improved.
24        Q     In your records or report, I know there's a
25   term that -- maximum medical improvement that is

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 1   referred to with Shawn.      Is that a term that you use in
 2   your report?
 3        A    Yes.    Sometimes it just refers to when I think
 4   a patient is as good as they're going to get.
 5        Q    Okay.   Do you think that Shawn is at maximum
 6   medical improvement at this point?
 7        A    Yes, I do.
 8        Q    And, I guess, if you just could explain to the
 9   jury what that is.     It sounds like you may already have.
10   What does it mean when we say a patient like Shawn is at
11   maximum medical improvement?
12        A    That this is as good as she gets.            There's no
13   high chance of continued improvement beyond this point;
14   that you've done everything that you can; and so there's
15   really no reason to continue any further treatment at
16   this point as a spine surgeon.
17        Q    With Shawn being at maximum medical
18   improvement, does that mean that her neck is back to the
19   way it was before this wreck?
20        A    No, it's not the same.        She was -- sustained
21   some injuries to her neck.      Unfortunately, those
22   injuries didn't improve over time, and ultimately she
23   required surgery to fix them.       The surgery has replaced
24   those damaged parts.     The problem is, is that the parts
25   that we put in her are not as good as her God-given

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 1   parts.      They're pretty good, but they're not as good as
 2   her original equipment manufacturer had for her.              So her
 3   neck will never be what it was before.          So there is a
 4   difference.     She's better, but she's not the way she was
 5   before her injury.
 6           Q    So are there any limitations for Shawn now
 7   after the surgery, things you recommend she be cautious
 8   with?
 9           A    You know, I would avoid any impact activities.
10   If she said she was a runner or things like that, impact
11   activity is probably not good for artificial disc
12   replacement.     Avoid -- you know, if she told me she had
13   a job working as a house painter and had to do
14   repetitive neck extensions looking above her, that would
15   probably be a troublemaker for her.          I would avoid
16   exposure to vibration for any sustained period of time
17   if she told me she wanted to become a professional truck
18   driver or something like that.       There's a lot of
19   microvibrations with driving, and that's not ideal once
20   you damage a disc.     You have to keep in mind, Ms. Miller
21   is better than when she came, but she does have some
22   residual neck pain which could be attributed to that
23   C3-4 disc that we didn't address.        I didn't feel it was
24   bad enough to include, you know.
25                But the general principle of spine is less is

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 1   more.       So less invasive stuff you do, the better.               If
 2   you have to do invasive stuff, keep it to a minimum.
 3   And so you have to kind of make an educated decision at
 4   that point how much you treat.        In her particular case,
 5   I just didn't feel that the 3-4 disc rose to a level
 6   that it needed to be included.
 7           Q      Doctor, is it a normal part of your practice
 8   to do impairment ratings for patients like Shawn?
 9           A      Yes.   It's requested on -- sometimes,
10   sometimes not.        But, yes; it's a common thing.           The
11   American Medical Association does have guidelines for
12   giving impairment ratings.        Basically, it's a number
13   that describes the percent of body function that's been
14   lost as a result of an injury or the injury and
15   subsequent treatment.        And so orthopedic surgeons, we
16   routinely reference that book to be able to explain,
17   okay; what's the final status of this?           What is the
18   impact of this injury on this person?           And we apply a
19   number to that to be able to explain:           Okay, what does
20   this mean?
21           Q      Did you assess an impairment rating for Shawn?
22           A      Yes.   According to the AMA Guidelines, she
23   would qualify for a 20 percent impairment rating.
24           Q     What does that mean when you say "20 percent
25   impairment rating"?

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 1        A       That means she's lost 20 percent of her body
 2   function as a result of this injury and subsequent
 3   treatment.
 4        Q       And can you clarify what resources you used to
 5   issue that impairment rating?
 6        A       It is the AMA Impairment Rating Guidelines,
 7   Fifth Edition.
 8        Q       Doctor, do you have an opinion as to what
 9   caused the herniated disc in Shawn's neck that you
10   operated on her for?
11        A       She's in her fifties.     So it's important to
12   keep in mind that as we get older, there's plenty of
13   research that shows we can't develop injuries to the
14   body and then get over them and move on and not have any
15   symptoms at a later date.      In her particular case, she's
16   in her fifties.     So I don't have an MRI that was done
17   right before the collision.       That would be what would
18   help me the most, but what I do feel comfortable saying
19   is that her pain and need for treatment I believe stem
20   from this collision.     I don't have a better way to
21   explain why she developed neck pain and why she needed
22   all the treatment that she did, other than this
23   collision.
24                Now, what I ultimately do, I rely on x-rays,
25   physical exam, and MRIs to be able to pinpoint where

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 1   that's coming from.     After looking at all those things,
 2   I believe it's the C4-5, C5-6 disc herniations that
 3   result in her pain, as well as the C3-4, although to a
 4   little lesser extent, the C3-4 disc as well.
 5        Q       Okay.   And so just to be clear for the record,
 6   based on your examinations and findings, do you believe
 7   there's any relationship between the car wreck that
 8   Shawn was in on November 19th of 2018 and the pain
 9   that -- the symptoms she expressed to you and following
10   disc replacement surgery that you performed on her June
11   8 of 2020?
12        A       Yes; I believe that her pain in her neck and
13   the headaches that she sustained are a result of that
14   collision and that -- the treatment that she underwent
15   with Dr. Velez, all the different clinics she went to,
16   Dr. Patel, as well as myself -- all were the result of
17   that -- necessitated by that collision.
18        Q       Doctor, have you seen Shawn as a patient since
19   you prepared that medical narrative that was dated
20   September 17th of 2020?
21        A       Yes; we've been seeing her since then.           I
22   believe my last visit with her was September 28, 2021.
23        Q       Okay.   And what were you seeing her for at
24   that time?
25        A       At that point she was now a little over a year

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 1   out from her injury.       She was seeing ear, nose, and
 2   throat doctor because she was concerned that maybe she
 3   might have some reflux issues.       She was having some
 4   front-of-the-neck discomfort and so wanted her to see
 5   them.       They really didn't feel that it was a reflux
 6   issue.      At that point I had recommended that she
 7   consider doing some speech-therapy treatments.                She has
 8   had previous neck surgery for parathyroid, which is a
 9   different part of the neck.       But between that and then
10   the surgery that we did, that could leave her with a
11   little bit of discomfort on the front side of her neck.
12           Q     And you brought up this prior neck surgery for
13   parathyroid that she had.       Are you familiar with that
14   procedure?
15           A      Yes.
16           Q      Can you explain to the jury what that is?
17           A      The parathyroids are four little glands that
18   are embedded inside the thyroid gland, which is on the
19   front of the neck.       It's not all the way by the bone
20   that's deep inside where I'm working.          This more
21   superficial, under the skin and muscle, a little bit
22   lower down.       You have the thyroid with four little dots,
23   and those parathyroids help control calcium levels in
24   your body.       And her calcium levels were abnormal, and
25   ultimately she required a surgery to remove part of the

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 1   parathyroids in her neck.
 2          Q     And was this before you ever saw her as a
 3   patient?
 4          A     Yes.
 5          Q     All right.     Would a prior parathyroid
 6   procedure like she had play any role in causing the
 7   herniated discs in her neck that you saw on the MRI?
 8          A     No.
 9          Q     It's my understanding that Shawn also had a
10   history of kidney stones and hypercalcemia prior to this
11   car wreck that this case is about.              Would kidney stones
12   play any role in causing a herniated disc in Shawn's
13   neck that you operated on?
14          A     No.    Those were -- those conditions were
15   because her parathyroids weren't functioning correctly.
16   So that's why they ultimately did the surgery that they
17   did.
18          Q     Are you familiar with what hypercalcemia is?
19          A     Yes.    Elevated calcium levels in the blood.
20          Q     All right.     Would that have played any role in
21   the damaged discs that you performed surgery on Shawn's
22   neck for?
23          A     No.
24          Q     Same question about prior history of her
25   having gallstones.        Would prior history of gallstones

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 1   before this neck injury play any role in ultimately
 2   needing the surgery that you performed on her?
 3        A       No.
 4        Q       Dr. Bendiks, in your practice do you ever come
 5   across patients that you suspect may be lying about the
 6   extent of their injuries?
 7        A       I'm not a lie detector.     So I'm just not good
 8   at that.     However, I have been in practice for almost 20
 9   years, so you can get a sense of people who are giving
10   you a fair shake or not.      Yes; I have come across folks
11   like that.
12        Q       Are there any kind general things that make
13   you suspicious or might tip you off when someone you
14   think might be exaggerating the extent of their
15   injuries?
16        A       There's nothing in particular in general.
17   It's just you get a feeling.       You get a sixth sense.
18   And if I get that, usually I ask the patient to get a
19   second opinion.     Maybe I'm just not reading them
20   correctly or assimilating the information correctly.                 I
21   never got that with Shawn, if that's what you're asking.
22        Q       And that's what I wanted to clarify.             Did you
23   ever come across anything in your treatment of Shawn and
24   your examinations of her and in looking at her MRI
25   results that made you think she was exaggerating to you

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 1   about her neck pain or problems?
 2        A      No.    I didn't get that sense.       I mean it's
 3   important to remember that she's the one who decided to
 4   go away and try to live with the pain longer.             It wasn't
 5   like she was rushing off to do anything.           She was --
 6   quite the contrary, she was doing her best to try to
 7   avoid any invasive treatment.
 8        Q      Just a couple of few last questions.              Are the
 9   medical opinions you've given here today to a reasonable
10   degree of medical certainty?
11        A      Yes, they are.
12        Q      In your examination, diagnosis, and treatment
13   of Shawn, did you use methodology that your
14   medical-specialty field considers to be reliable grounds
15   for forming opinions and inferences in clinical medical
16   practice?
17        A      Yes.
18        Q      Were you as careful in your examination,
19   diagnosis, and treatment of Shawn as would be in your
20   other professional work?
21        A      I was.
22        Q      If you could, what county do you live in,
23   Doctor?
24        A      Fulton.
25        Q      Would it be a hardship on your practice and

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 1   your patients that you treat if you were required to
 2   appear live in court to testify in this case?
 3           A     Yes, it would.     I mean, I'm in clinic four to
 4   five days a week and then surgery as well that I squeeze
 5   in between there.         So something is going to have to
 6   give.       I'm canceling surgery, or I'm canceling clinic.
 7   That's obviously going to affect patient care.
 8           Q     And were the bills that you and your practice
 9   charged Shawn reasonable compared to what others in your
10   field of specialty charge?
11           A     They are.
12                 MR. MANTON:     That's all the questions I have
13   for you.      Thank you, Doctor.
14                 THE WITNESS:     Thank you.
15                 MR. BRANCH:     I want to take a minute or two
16   break, and then I'll come back.          And, Doctor, I have
17   some questions for you as well.
18                 MR. MANTON:     That makes sense.
19                 THE VIDEOGRAPHER:     This is Lucas, the
20   videographer.      The time is 5:37 p.m.       We're going off
21   the record right now.
22                 (Video camera turned off.)
23                 (A recess was taken.)
24                 (Video camera turned on.)
25                 THE VIDEOGRAPHER:     The time is 5:43 p.m.

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 1   Pacific.    We're on the record.
 2               MR. BRANCH:      Dr. Bendiks, good evening.          I'm
 3   Kevin Branch.     Thank you for taking the time to be with
 4   us today.     I have some questions in follow up on some
 5   testimony that you just gave in the matter, the further
 6   issues in this case.
 7                             EXAMINATION
 8   BY MR. KEVIN P. BRANCH:
 9        Q      But to get started, you were a party on the
10   record before the deposition started about document
11   productions that Georgia Spine has provided in this
12   matter.     I just want to make sure I'm clear on what has
13   transpired.     My understanding is if there is a medical
14   record, diagnostic record, or anything that was
15   generated by your practice or received by your practice
16   pertaining to the medical treatment of Ms. Miller, we
17   should have that in document production that was sent to
18   us, should we not?
19               MR. MANTON:      Object to the form of the
20   question.
21               MR. BRANCH:      Doctor, you can answer the
22   question.
23        A      I'm assuming everything has been produced.                 I
24   think you guys requested everything that's related to
25   examination of the patient, which is my physical exams

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 1   and treatment and the MRI.        So, yeah.
 2        Q    (By   Mr. Branch)       And that's what -- I'm
 3   asking a little bit more than that.            You were party to
 4   the conversations that took place between counsel before
 5   the deposition started, and it would be true based on
 6   representations from your counsel that we should have
 7   every medical record, diagnostic imaging, and anything
 8   that you have has been produced to us, available for us
 9   for the deposition; correct?
10             MR. SMITH:     I'm going to object to the form of
11   the question.
12             THE WITNESS:        I just answered the first time.
13   That was my answer.
14        Q    (By   Mr. Branch)       If there was diagnostic
15   image that you have that you relied upon in giving your
16   testimony today, I have that, per the representations of
17   Georgia Spine; right?
18        A    Oh, no.     You wouldn't have the images because
19   we don't have images.        Those are digital recordings.
20   You would have to go to the website to get those images,
21   like the MRI images.     I don't keep those or have the
22   ability to get them or send them to you.             That would
23   be -- American Health Imaging is one.            I think Image
24   Link might the other one.        So we don't keep the images.
25   We don't store those.        Elite.   Sorry.     It was Elite.

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 1        Q       So then, Doctor, for purposes of your
 2   testimony today, do you deny that your counsel
 3   represented on the record before the deposition that we
 4   should have all diagnostic images that you relied upon?
 5                MR. SMITH:    I'm going to object to the form of
 6   the question.
 7        A       Once again, all the stuff that I have the
 8   ability to get to you, I can.        The images I can't get
 9   you those.     Those are on the website.        I'm happy to show
10   them to you on a computer if you want to see those.                I
11   think we can see them in a Zoom meeting.            But they
12   showed the relevant images on those diagrams that we
13   showed earlier.     If you want to look at the pictures on
14   the computer, we can do that.
15                MR. BRANCH:     I was -- I'll tell you this.
16   Let's take a little break.
17                Madam Court Reporter, do you have the ability
18   to read back the record?
19                THE COURT REPORTER:     The entire record?
20                MR. BRANCH:     I want to go back to the record
21   before the deposition and discuss with Dr. Bendiks Mr.
22   Smith's --
23                (Deposition interrupted.)
24                MR. BRANCH:     I want you to go back, and I want
25   to find the statements when I asked, Do we have all the

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 1   diagnostic images?        I want you to find certified
 2   diagnostic images from Mr. Smith.         I want you to -- when
 3   we go back on the record, I want you to read that back.
 4                MR. MANTON:     And I'm just going to put a
 5   standing objection on the record, to the extent it's
 6   calling for witness to give testimony about what his
 7   lawyer said in a conversation before the deposition
 8   started.     I have a standing objection to that.
 9                MR. BRANCH:     We were told before -- I mean,
10   now that he told me before the deposition that we had
11   all the diagnostic images and I don't, he just gave
12   testimony or more to things they told me I would have in
13   my file that we don't.        Similar -- is that --
14                MR. SMITH:    All the matters that he relied
15   upon in providing his testimony today, those are things
16   that were produced.        I think he's already stated certain
17   information such as the information held by American
18   Health Imaging and such are documents you have to get
19   from them.
20                MR. BRANCH:     Madam Court Reporter, have you
21   found it?
22                THE COURT REPORTER:     I haven't heard anybody
23   say go off the record.
24                MR. BRANCH:     Off the record.
25                (A discussion was held off the record.)

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 1               (Video camera turned on.)
 2               THE VIDEOGRAPHER:     We're on the record.           The
 3   time is 5:52 p.m.
 4        Q      (By Mr. Branch)     Dr. Bendiks, we're back on
 5   the record.     I just want to clarify.       You were present,
 6   were you not, on the video record during the
 7   predeposition discussion between counsel regarding
 8   documents that have been produced?
 9        A      If by present you mean my camera was on?              Yes,
10   but I wasn't listening to you guys.          You guys were
11   arguing amongst yourselves.       So I leave you guys to
12   handle that.
13        Q      So you don't have any idea about any
14   representations that were made by your lawyer on the
15   record about what documents have been produced that
16   would be available to for the deposition?
17        A      No; you guys were talking all sorts of crazy
18   legalese.     All I heard from you was "imaging."             If you
19   want to save the judge and jury some time, I'm happy to
20   look at the images with you right now on the computer.
21        Q      We'll come back to look at the records that
22   were produced.     But my understanding is that as you sit
23   here today, you don't have access to and -- to respond,
24   you have not produced the images of Ms. Miller that were
25   taken of the MRIs?

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 1        A    No; I don't have access to that.            I have
 2   online access, but I can't copy those and send those
 3   files to you guys.
 4        Q    Okay.     Thank you.    As you sit here today, your
 5   expectation is that you would not expect to see in the
 6   Georgia Spine records any imaging?
 7        A    No.     We don't keep pictures.       The MRI is from
 8   AHI, and the other one is from Elite.          They keep it on
 9   their websites, but I can access them online.
10        Q    Would you have a report of any sort when you
11   review the MRIs?
12        A    Yes; it's in the note.
13        Q    Yes.     So we should have a note with a review
14   and your interpretation of the MRI?
15        A    Yes.     It's in the first date of visit and the
16   subsequent one where we did the second MRI.
17        Q    And, Doctor, let me -- I want to talk to you
18   briefly about your practice.       My understanding is that
19   you are the owner of Georgia Spine & Orthopedics of
20   Atlanta, LLC.
21        A    Yes.
22        Q    Okay.     And do you also own -- the sole owner
23   of the Surgery Center of Roswell, where the surgery took
24   place?
25        A    Yes.

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 1        Q      Okay.     So nobody else has an ownership
 2   interest in your business; is that fair?
 3        A      The bank.     That's about it.
 4        Q     Now, my understanding is your practice --
 5   well, let me ask you this real quickly:            Has your
 6   practice changed any in terms of the nature of the
 7   practice and the volume of the practice in the last 24
 8   months?
 9              MR. MANTON:       Object to form.
10               Subject to the objection, you can answer.
11        A      I guess that with COVID, we've had some
12   decrease, switched more to telemedicine versus in-person
13   visits.    Definitely, I've seen that.
14        Q      (By     Mr. Branch)   Other that that, though, is
15   the type of patient and type of practice you're doing
16   still the same?
17        A      Yeah.     I tend to see spine patients, and I do
18   orthopedics.      That's who I see.
19        Q     Now, my understanding is that Georgia Spine
20   does not do any direct marketing to plaintiffs' lawyers
21   associated with referring patients who have an ongoing
22   legal claim.      You guys don't do direct marketing?
23              MR. MANTON:       Object to form.
24        A     We have a marketing team that goes out and
25   markets.

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 1        Q      (By     Mr. Branch)      Well, do you market directly
 2   to plaintiffs' lawyers associated with referring
 3   patients who have ongoing lawsuits -- personal-injury
 4   lawsuits to Georgia Spine?
 5        A      The marketing team handles all marketing, and
 6   we market to anybody who can give us referrals.
 7        Q      Okay.     So it would be your testimony as you
 8   sit here today that Georgia Spine does that, that you go
 9   out and directly market to plaintiffs' lawyers to refer
10   to you individuals who have been involved in accident
11   for you to treat them?
12               MR. SMITH:     Object to the form of the
13   question.
14        A      Once again, I just said my answer, which was:
15   We market to all sources that can refer patients to us
16   that are orthopedic related.
17        Q      (By     Mr. Branch)      So just so I understand
18   then, so would it be your position ... your position
19   that Georgia Spine engages in industry marketing and
20   marketing to plaintiffs' lawyers?
21               THE WITNESS:      You kind of cut out there.          I
22   didn't catch what you said.           Could you speak into
23   microphone again?       I didn't catch what you said.
24               MR. BRANCH:      Sure.
25        Q      (By Mr. Branch)       So your position would be

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 1   that Georgia Spine does marketing directly to
 2   plaintiffs' lawyers?
 3               MR. SMITH:    Object to the form of the
 4   question.
 5        A      I'll say it for the third time so that you
 6   understand it, and I'll say it slowly:          We market to all
 7   referral sources.     Anybody that can potentially send
 8   orthopedic patients to us, we're happy to see them.
 9        Q      (By   Mr. Branch)   Do you know approximately
10   how much you spend each year marketing to plaintiffs'
11   lawyers who refer cases to you for people they're
12   representing?
13        A      No.
14        Q      In terms of success you're having with that
15   marketing, would you agree that about 30 percent of your
16   practice involves treating someone who has some form of
17   claim going associated with a motor vehicle accident or
18   slip-and-fall; correct?
19        A      It varies as the year goes on, but I would say
20   overall, it comes out to about that.         Seems to be about
21   a third is personal-injury related.          So assaults, car
22   accidents, slip-and-falls.      A third is work comp, and
23   third is everything else.       Really as the year goes on,
24   in the beginning of the year, people have haven't met
25   their deductibles.       So the percentages of those might be

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 1   higher as the year goes on.       I would say approximately;
 2   yeah.
 3           Q    In your experience, though, the workers' comp
 4   portion of your practice where you're treating someone
 5   who's making a claim against an employer raises it to as
 6   much as 40 percent of your practice, has it not?
 7           A    I'm sure at some point it has.        Like I said,
 8   it varies during the year; so percentages will vary.
 9   But, yes; I treat people who are injured, no matter how
10   they're injured.
11           Q    But at any given time, up to 70 percent of
12   your time is some individual who's making a claim
13   against someone else seeking money damages associated
14   with some injury that they claim was caused by somebody
15   else?
16           A    I have no idea.   They never tell me.            They
17   rarely ever tell me, "I hired an attorney, and I'm suing
18   somebody."     They come in saying, "I got injured at
19   work."      "I got run into," and that's the extent of it.
20   I'm concerned about what their anatomy -- pathoanatomy
21   is, not if they have a legal claim or don't have a legal
22   claim.
23           Q    Well, you'd agree, though, that -- I mean,
24   understanding that they have a legal claim, paying is
25   relevant knowledge to you because you understand that 70

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 1   percent of the people that you're treating, you're
 2   treating on a lien, are you not?
 3                  MR. MANTON:      Object to form.
 4          A       No.
 5          Q       (By   Mr. Branch)        Would you agree with this:
 6   If you're treating them with a lien, that means you've
 7   agreed to treat them, expecting them to have some other
 8   source of recovery that they then pay you from a lawsuit
 9   or workers' comp claim; isn't that true?
10                  THE WITNESS:      You kind of cut out a little
11   bit.       I apologize.   Could you say that one more time?
12                  MR. BRANCH:      Sure.
13          Q       (By   Mr. Branch)        You agree that you
14   understand the nature of your practice, Doctor, do you
15   not, so that if you're treating someone on a lien, it
16   means that you provided the treatment with the
17   expectation they're going to recover from someone in a
18   lawsuit or workers' comp claim and compensate you; you
19   understand that?
20          A       No; I don't understand that.         What I
21   understand is that the vast majority of the medical
22   community will not treat anybody without receiving
23   payment at the time of service.              I'm willing to go ahead
24   and help people that may not be able to pay for their
25   care at that time and delay their payment to later date.

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 1   If you have a legal claim, great.         I will wait until it
 2   settles.    It doesn't matter if it settles for them.
 3   They still have a bill, and they owe.            I'm being nice
 4   enough to wait for that rainy day.            If it doesn't work
 5   out for them, then they have to do a payment plan.
 6   That's fine.    I have patients that do that all the time.
 7   But, you know, help -- trying to help somebody out who's
 8   in a bad situation, that's what I try to do.
 9           Q   So, Doctor, then you would be aware that 70
10   percent of your practice at any given time is you
11   representing someone who is in a personal injury claim
12   against someone else?        You don't have any knowledge of
13   that?
14           A   I do not, simply because now you're
15   confounding all the numbers.        Before, you said 70
16   percent with work comp and personal injury.              Now you're
17   saying 70 percent personal injury.            No; it's not that.
18   So the answer is no.
19           Q   So you don't dispute, Doctor, that 70 percent
20   of your practice involves treating someone on a lien
21   basis where you're -- do you know there's something
22   going on where you're expecting to get paid later?
23           A   I'll say it real slowly so that you can
24   understand that the percentage changes over time.                 It's
25   about a third, a third, a third over the entire year.

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 1   But at the beginning of the year, it tends to be a
 2   higher percentage, and as the year drags on, it gets to
 3   be a lower percentage.       Hopefully, we all understand.
 4        Q    Sure.   Thank you.      Just so we can make sure
 5   that -- Doctor, can you see my screen?
 6        A    Yes.
 7        Q    Alex Smith is the attorney for Georgia Spine &
 8   Orthopedics, is he not?
 9        A    Yes.
10        Q    I want to read you something from an affidavit
11   that he submitted in an action that says, "Georgia
12   Sports [sic] treats an estimate of 70 percent of its
13   patients' population on a lien basis."
14             Do you see that?
15        A    Yes.
16        Q    Okay.   Thank you.      You wouldn't have any
17   reason to question whether Mr. Smith is knowledgeable
18   about Georgia Spine's practices?
19        A    No, I don't.
20        Q    Okay.   Doctor, you understand that you've been
21   involved in this business long enough to know that when
22   you're treating someone who has a personal injury suit
23   pending and you're treating them on a lien -- you
24   understand that the chances of you recovering are
25   consistent with them recovering in a lawsuit, is it not?

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 1             MR. MANTON:        Object to form.
 2        A    I'm willing to go ahead and wait for payment,
 3   but ultimately I expect to be paid.           And I have patients
 4   that do that, that they didn't get their inheritance.
 5   They didn't get their lawsuit win, and now we have them
 6   do a payment plan for their care.
 7        Q    (By   Mr. Branch)       Do you have any reason to
 8   understand why an individual such as Ms. Miller who
 9   have -- who may have health insurance may structure a
10   deal with you where they would not use their health
11   insurance in treating them?
12             MR. MANTON:        Object to form.
13        A    I'm out of network.        So I'm not in network
14   with health insurers.
15        Q    (By   Mr. Manton)       So you don't accept any
16   health insurance?
17        A    We have started recently a couple of plans.                 I
18   don't know the specific ones, but we're on a couple of
19   plans; yes.
20        Q    Doctor, so --
21        A    That was back in 2019, I believe.             I'm not
22   really sure.
23             MR. MANTON:        Before I just go interrupting all
24   the time, I'd like to have a standing objection to all
25   questions regarding health insurance.

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 1               MR. BRANCH:      Sure.
 2           Q   (By Mr. Branch)      Doctor, as the owner of your
 3   practice, do you involve yourself in the actual running
 4   of the financial affairs of practice?
 5           A   Everything, soup to nuts.         I buy all the paper
 6   clips and pencils.     I admit the patients at the front
 7   door.
 8           Q   Right.
 9           A   I do the medical part.
10           Q   You should have an intimate understanding,
11   then, of the financial workings of your practice in
12   terms of who you represent and how you're represented
13   and how you're getting paid.          Would that be fair to say?
14               THE WITNESS:      Who do I represent?       I'm sorry.
15               MR. BRANCH:      Sure.     Patients you treat.
16           Q   (By   Mr. Branch)        You would agree that if
17   you're intimately involved in the financial affairs of
18   your practice, you should have a pretty good
19   understanding of documentation that exists, how you're
20   treating them, how you're getting paid; would that be
21   fair to say?
22           A   No; I am not intimately involved with the
23   finances of my practice.        I have an accountant that
24   handles that.
25           Q   Who then would better know and have the

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 1   ability to answer questions about how patients are being
 2   handled on the financial basis with the practice?
 3          A     Probably the person for that 30(b)(6) thing
 4   that you have going on later in the month.               Mr. Miles
 5   should be able to handle that better.
 6          Q     Now my, understanding is, Doctor, that you see
 7   about 2,000 new patients a year through your practice;
 8   is that fair to say?
 9          A     Yeah, approximately.       Like, COVID kind of made
10   things a little screwy.         But ish.
11          Q     Just making sure I understand.           So we're
12   talking about 70 percent at any given time of your
13   practice is going to be personal injury claim or
14   workers' comp claim that you're treating on a lien?
15   We're talking in the range of 70 percent of 2,000
16   patients you're seeing on that basis; is that fair to
17   say?
18          A     Yes, sir.    I guess so.
19          Q     So of the -- just taking those numbers of
20   about 2,000 people you see, about 1,400 of your patients
21   each year are somebody that's going to have a workers'
22   comp claim or personal injury claim that you're treating
23   on a lien basis; fair to say?
24          A     It might be, approximately.
25          Q     Do you know in terms of the revenue of your

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 1   practice what -- on a yearly basis what 70 percent of
 2   the practice would reflect from a gross-income
 3   standpoint?
 4        A      No.
 5        Q      Well, let's take this case.        You put $150,000
 6   in this particular case.      Is this a standard file for
 7   you or standard patient?
 8        A      No; I don't -- I operate on, like, 3 percent
 9   of what I see.     So everywhere that I operate on
10   patients, actually less than 3 percent.
11        Q      So you don't know as you sit here today what
12   the average patient treatment will cost for your
13   practice?
14        A      No.
15        Q      So let's take some simple numbers.           In this
16   particular case, $150,000 you've billed for this
17   particular patient.     If you have 1,400 lien patients
18   that you billed $150,000, that would be $210 million,
19   would it not?     Trust my math.
20        A      I'll trust your math; sure.
21        Q      70 percent of that would be $147 million.              Do
22   you know as you sit here today:        Is $150,000 in the
23   range of what you normally charge a patient?
24        A      No.   As I just said, most of that is surgical
25   charges, and I'm operating on 3 percent.           If I see 200,

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 1   I operate on around -- I don't know -- a hundred or so,
 2   maybe 150ish maybe.       So pretty uncommon
 3           Q      Doctor, my understanding -- let me ask you
 4   this.       Do you have any sense of how many depositions
 5   you've given on an annual basis for the 70 percent of
 6   your practice that involves somebody with a claim of
 7   some sort?
 8           A      I do a couple of depositions a month.            COVID
 9   kind of drove that down.       Now we're kind of picking back
10   up again.       I guess that seems to be what we do.
11           Q      Sounds like you're doing a deposition at least
12   every other week then, approximately?
13           A     No.   It's more frequent.      I'll say every other
14   week.       I'll say over the average of the last -- I don't
15   know -- eight, ten years maybe, whatever averages out to
16   that.       Just taking a rough guess.    As I said, COVID kind
17   of dropped that down a little bit.
18           Q      So I want to make sure I understand.            So
19   you've done a deposition every week to two weeks for
20   approximately eight years?
21           A     No.   I guess you didn't understand.         I said at
22   max, I do one, perhaps two, a month.          Say, for the last
23   two years with COVID, it's been less.
24           Q      So how many of them have been in the last
25   year?

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 1        A    I don't know exactly.        Let's just say -- I'll
 2   guess again -- a couple a month.        I don't think it's
 3   that many but might be.
 4        Q    Doctor, have you had any meetings or
 5   discussions with Mr. Manton in this case about Ms.
 6   Miller?
 7        A    Yes.   He called yesterday to find out where
 8   I'd be today so he could mail or deliver these boards,
 9   the illustrations.
10        Q    What about your care of Ms. Miller?             Did you
11   discuss with him the care that you provided for her?
12        A    Just he asked me if I remembered about her
13   case and did I know that I have a deposition tomorrow.
14   And I said "yes," and I read my medical records.
15        Q    Doctor, how do you get to a point where you
16   have about 70 percent of your practice where you're
17   representing someone that has some kind of claim, either
18   a personal injury suit or workers' comp claim?                Do you
19   have any sense of how it got to this point?
20        A    I guess just by being a good surgeon.               I've
21   been in practice for 20 years now, so a lot of people.
22   I've treated a lot of different people at this point.
23   But orthopedics is a specialty that mostly deals with
24   trauma.   That's the -- some of the biggest calls we get
25   for injuries -- or one of biggest is motor vehicle

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 1   collisions.     So we tend to see a fair amount of that.               I
 2   don't take Medicare or Medicaid.         I did in the first
 3   half of my practice.     I don't now.         It tends to be more
 4   degenerative-based issues, so I tend to see a younger
 5   population, and younger populations tend to be more
 6   active.
 7        Q     Sure.    And do you know in terms of -- let me
 8   ask you this:      You've been giving 70 percent of your
 9   practice with some sort of a claim paid, and you've
10   given, I think you said, in the range of about two
11   depositions a month for about eight years.              I trust,
12   Doctor, you understand how the -- how this the system
13   works in terms of patients having to prove that they
14   were injured in an accident and having to prove the
15   injury was caused by the accident in order for them to
16   recover.   I trust you understand that's how lawsuits
17   work; right?
18              MR. MANTON:       Object to form.
19        A     Yes; I assume so.
20        Q     (By Mr. Branch)       So I trust you understood
21   today -- when Mr. Manton was asking whether you thought
22   the accident at issue had caused the injury to Ms.
23   Miller, I trust you understood that Mr. Manton was going
24   to stand up at the end of this case and show the jury
25   your deposition and stand up at the end and ask for

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 1   money based on your testimony.         I think you -- I trust
 2   you understand that was going to happen?
 3         A      Well, I have no idea what his demands are, but
 4   I can only assume that.
 5         Q      Understanding is fine.       I'm --
 6         A      I make my reasoning for what I think what's
 7   wrong.    You guys asked me the questions.            He asked me do
 8   I think this is related, and I said yes.              I believe it's
 9   related for several different reasons.             I didn't have
10   these problems before.         She has these problems after
11   this event, the plausible mechanism of injury, which is
12   a collision.      Apparently some big freight truck hit her
13   car or something like that.         Can that result in a neck
14   injury?    Yes.   A plausible -- a mechanism that wouldn't
15   be so plausible would be if she told me, "I'm sitting at
16   a table, eating cereal, and all of a sudden I developed
17   neck and back pain and headaches."             I look at the
18   mechanism.
19                I also look at objective testing to be able to
20   see, okay, does that explain it or not?              I said earlier,
21   it was the x-ray that shows straightening on the X-ray.
22   That's not normal.      You can't fake that.          That clearly
23   shows two damaged discs; okay?         That can also explain
24   it.
25                And then finally what I do is, I make sure

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 1   that I don't overlook something else.             Just because the
 2   lady comes in and says, "I hurt my neck in a car wreck,"
 3   maybe it's something else.          Could be cancer.        Could be
 4   infection.     Could it be autoimmune?          Could it be
 5   metabolic?     Could be genetic.          I have to go through all
 6   those things and just let the evidence point to where it
 7   is.   And that's what the science is.            And the
 8   evidence -- I don't a better way to explain why she has
 9   neck pain that developed after a collision other than
10   because of that collision and then all the other data
11   points that we went over to explain why.               So that's why
12   I made that opinion.
13         Q      Thank you, Doctor.          My question is a little
14   different.     My question was actually:          I trust you
15   understand from the years that you've been involved in
16   this that when Mr. Manton asked you if you had an
17   opinion whether the accident caused the injury at issue
18   that you understood that that your testimony is going to
19   be shown to the jury and then Mr. Manton will cite your
20   testimony to the jury for the basis of asking for an
21   award?     You understand that will happen in this case, do
22   you not?
23                MR. MANTON:       Object to form.
24         A      I am.
25                THE WITNESS:       Sorry.     Go ahead.

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 1              MR. MANTON:       You're fine.
 2        A     I don't know what you two lawyers are going to
 3   decide to do.      I can assume that, but I have no earthly
 4   idea what each side is going to do.           I assume.
 5        Q     (By     Mr. Branch)    That's what I want to get,
 6   Doctor, which is I think that we all have and anticipate
 7   that you have a doctor-level understanding of the legal
 8   process.   But you understand your testimony will be
 9   integral in Plaintiff's requesting damages from the jury
10   in this case, do you not?
11        A     Yes.     You guys are not spine surgeons, and you
12   don't -- haven't been to medical school.            So you need
13   that person to be able to explain that.            And I'm the guy
14   who took care of Shawn; so I understand that's what you
15   guys are asking questions about.
16        Q     Sure.     Doctor, have you reviewed your list of
17   depositions history that you provided since
18   approximately 2015?      Have you ever reviewed that?
19        A     No.
20        Q     Just let me start by asking you this:               Are you
21   aware that our firm provided in another matter to your
22   counsel with a list of depositions that we obtained from
23   court reporters that you provided since 2015?              Were you
24   aware that happened?
25        A     No.

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 1         Q      Okay.   Do you have any reason to dispute that
 2   occurred?
 3         A      No.
 4         Q      Okay.   Are you aware that your counsel then
 5   added to the list with additional depositions that the
 6   court reporters didn't have but that you knew about to
 7   give us a complete list of depositions that you've given
 8   in the last few years?
 9                MR. SMITH:    Object to the form of the
10   question.
11         Q      (By Mr. Branch)     Do you have any reason to
12   dispute that?
13         A      No.
14         Q      Let me -- I want to then -- let me show to
15   you -- Dr. Bendiks, can you describe that?
16         A      Yes.
17         Q      All right.    I'm going to scroll down through
18   it.   I want to go through this whole thing; then we'll
19   come back.     Doctor, those are records that I'm
20   identifying here, this list that we're going to attach
21   as Exhibit 1.
22                (Defendants' Exhibit No. 1 was marked for
23   identification.)
24         Q      (By Mr. Branch)     Do you have any reason to
25   doubt that since 2015, you've provided approximately 131

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 1   depositions in litigation for patients that you've seen
 2   and treated?
 3             THE WITNESS:        Sorry.    131 since 2015?        Is that
 4   what you said?
 5             MR. BRANCH:        Right.
 6        A    No.     I guess not.        I mean, just doing the math
 7   in my head, I assume that comes out to about a little
 8   over 20 a year.     So that's about one or two a month, as
 9   I said before.
10        Q    (By     Mr. Branch)     Correct.    And so do you
11   know -- looking at this list, are you aware of any case
12   that you've ever had where you testified on behalf of a
13   patient in a deposition that the accident that was
14   involved in that case did not cause the injury that you
15   treated the patient for?
16        A    No.     Usually those never even get to a
17   deposition because I'm sending the patient out.
18   Nobody's ever willing to argue that.          I only take up
19   injured -- I only take care of injured patients.               I
20   don't take care of injured companies.           So people come in
21   and they're hurt, then I'll say it.           If it's not related
22   to a work injury or it's not related to an assault, I'll
23   say it.   But it never gets to a deposition, or those
24   cases would have been closed down, I would assume.                 Once
25   again, I don't know.     You have to ask the lawyers that,

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 1   but I would assume there's never going to be a
 2   deposition over that.
 3           Q     So we shouldn't be able find in 120
 4   depositions that you provided over the course of five
 5   years where you've ever testified that the patient
 6   wasn't injured by the accident at issue; fair to say?
 7           A     The only time that you guys request
 8   depositions is when you guys are going to court like
 9   that.       So there must be enough evidence, I guess, on
10   either side, but they want to go to a deposition and
11   argue over it, when I clearly say in my notes I don't
12   believe this is related to whatever the event.
13   Lawnmower accident, an assault, a car accident, work
14   injury or whatever, I write that in the note or I write
15   it in -- it's called an independent medical evaluation,
16   and that usually is the end of it.           The medical
17   evaluation takes care of it.       I never -- I've never in
18   my 20 years had a deposition where I've said this is not
19   related and they argued it with the deposition.
20           Q     And I understood from your testimony a moment
21   ago that you only treat individuals that you believe
22   have been injured by some accident or by some
23   work-related injury.
24           A     No; I didn't say that.    I take care -- I'm
25   orthopedics; so we take care of musculoskeletal systems.

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 1   So that tends to be issues with bones, ligaments,
 2   muscles, tendons, discs, joints, things of nature.                My
 3   area of spine subtext would be the neck, maybe low back.
 4   And I tend to see a lot of younger people.             Younger
 5   people don't tend to have arthritis at that younger age
 6   or something like that.        They tend to have injuries, be
 7   it car accidents, football, weekends warriors, or work
 8   injury.   So I tend to see that.
 9        Q     So just to make sure I understand your
10   testimony, then, that in -- even if you had 120
11   depositions in the last five years, and never once have
12   you testified that the accident that was involved in
13   that case did not cause the injury for which you treated
14   the plaintiff; true?
15              THE WITNESS:       I think you said since 2015; is
16   that right?
17              MR. BRANCH:       Correct.
18              THE WITNESS:       That's seven years.
19        Q     (By Mr. Branch)       In seven years you've never
20   testified in one deposition that the accident for which
21   you treated the plaintiff was not -- the injury for
22   which you treated was not caused by the accident at
23   issue?    You can't think of one deposition where you've
24   ever given -- where you denied that the accident caused
25   the injury?

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 1           A     No, as I said before, because it never gets to
 2   that.       I either do an independent medical evaluation,
 3   and that -- nobody has ever come to me for a deposition
 4   after a medical evaluation when I said I don't think
 5   this is related and when I've written in my notes I
 6   don't think this is related.        I've never had a
 7   plaintiff's attorney try to push the supposed medical
 8   expert to disagree with that.        It's not related; so it's
 9   not related.      They're happy to go somewhere else and try
10   to find another doctor who thinks it's related.                But if
11   I don't believe it's related, I'll say it, and that's
12   never once required a deposition in the last seven years
13   and not in the last 20 years.
14           Q     Circling back, Doctor, I appreciate you
15   volunteered a moment ago.       You gave us a host of things
16   that you've done that you believe to try to assess
17   whether the accident caused the injury at issue.               Why
18   are you interested in that in this particular case?                  Did
19   Mr. Manton at some point early in the case ask you to
20   give an opinion as to whether the accident caused the
21   injury?
22           A     He just asked that a couple of minutes ago.
23           Q     I understand.
24           A     I gave him my opinion.
25           Q     Was the first time that you gave any

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 1   consideration into this case as to whether the accident
 2   caused the injury when Mr. Manton asked you this during
 3   the deposition a few minutes ago?        Or have you been
 4   looking at that since the beginning of the case?
 5        A      When I first saw the patient on July 31st,
 6   2019, you know, they give me their history of what
 7   happened.   And as I said before, okay; just because a
 8   person tells me I think it happened because of this
 9   football thing or because somebody hit me or because it
10   happened at work, I can't just base it off of that.                 I
11   do have to look at all other potential explanations.
12   And this particular case, I don't have a better
13   explanation of why her pain has occurred, is because of
14   this accident.
15               But, ultimately, whether it's an accident or
16   some other reason, the bottom line is the pathology.
17   The pathology is two damaged discs.          The C3-4 is not
18   that bad.    The C4-5 and C5-6 discs are the damaged
19   discs.   And the only thing that matters is that they're
20   damaged and I believe they're causing her pain.               You
21   guys asked me:    What do you think cause her pain?             I'll
22   answer the question.
23        Q      I understand, and I appreciate you being
24   candid on that.    Sounds like when the patient came to
25   you, your focus then was treating this individual for a

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 1   physical condition, and you were not focused on deciding
 2   whether she had been injured in some an automobile
 3   accident; is that fair to say?
 4        A    No.     Once again, if the patient says I believe
 5   it's because of this, I'll let them know at the end, I
 6   don't think so.    I don't think it's related.           In this
 7   particular case, I don't think I wrote anything down.
 8   The back pain was better.      The headaches were good.            It
 9   was just her neck at that point.        And so that's why I
10   recommended she consider surgery for her neck.
11        Q    Sure.    Doctor, you would agree that -- I mean,
12   there's individuals who come to you that you've seen
13   before who have herniated discs in their cervical spine
14   who have not been involved in a motor vehicle accident
15   and have developed that symptomatology, have you not?
16        A    Yes.
17        Q    So that's what I'm trying to understand here.
18   When you started treating this patient, were you focused
19   on providing medical care to her, or were you focused on
20   deciding whether she had a compensable injury in civil
21   litigation?
22        A    Just medical care.
23        Q    All right.     And so fair to say, then, you
24   probably didn't go at this as some kind of investigator,
25   trying to figure out if she'd been injured in an

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 1   accident.    You were treating her for a medical
 2   condition, and sounds like as a corollary, you were just
 3   now asked in a deposition if you think this was caused
 4   by an accident; is that fair to say?
 5        A      I consider myself a little bit of a private
 6   investigator.     That's what I'm doing.        I'm a health care
 7   private investigator.        I've got to put all these pieces
 8   of evidence together and see what the picture is and,
 9   hopefully, come up with what I think is a more-likely-
10   than-not scenario for why they have that pain or
11   disability or pain and disability and then what I can do
12   as a spine specialist to be able to help them with that.
13        Q      So you did view yourself as an investigator in
14   this case then?
15        A      I think I just answered that question.
16        Q      So let me ask you:      As a role of an
17   investigator, would you agree that to be a good
18   investigator, you want to gather as much as information
19   as possible and sometimes you rule out certain pieces of
20   information as being irrelevant; and sometimes you
21   realize that some things are important?            But that's
22   critical to being a good investigator, is to get all the
23   information you can about the subject you're going to
24   make an opinion on; fair to say?
25        A      I'm not making an opinion on something.              I'm

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 1   trying to help Shawn with her neck pain.            I do want to
 2   get as much as information as possible that's useful and
 3   helpful to be able to come up with a diagnosis and a
 4   treatment plan.
 5        Q    I understand.        So fair to say, then, from your
 6   testimony, you don't feel you're being asked to give an
 7   opinion as to whether this accident caused the injury;
 8   fair to say?
 9        A    You seem to want to repeat what I say and then
10   put it in different forms.        If you just listen to what I
11   said, we can kind of move along a little quicker.                I
12   just treat the patient.        They have a neck problem.             I
13   help them with their neck pain.         That's what I do.
14        Q    Well, what I'm trying to understand then what
15   you viewed your role as this went along.
16        A    I'm a doctor.
17        Q    Do you consider that you're giving opinions in
18   this case as to whether this accident caused this
19   injury, or do you think you're not giving opinions on
20   this issue?
21             MR. MANTON:        Objection to form.
22        A    Mr. Manton asked me if I felt that it was
23   related; so I answered the question.
24        Q    (By     Mr. Branch)     Do you have a reason to
25   believe that's not an opinion?        Do you see an opinion as

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 1   being different than what you just said?
 2        A      I'm a doctor.      That's my professional opinion.
 3        Q      All right.     So then sounds like we can agree,
 4   then, that you did believe that you were acting somewhat
 5   as a medical investigator in this case.            And let me ask
 6   you ask my question then, see if you agree:             Do you
 7   agree that good investigators seek out all the
 8   information they can get so they can either rule in or
 9   rule out whether something is relevant to their
10   decision?
11               MR. MANTON:      Object to form.
12        A      As to their investigations?         I'll avoid the
13   metaphor as much as possible so we don't misunderstand
14   each other.       I'm a medical doctor, and I'd like to have
15   as much as information as possible that's germane to be
16   able to come to a diagnosis and a treatment.
17        Q      (By     Mr. Branch)   My understanding in this
18   particular case is, one of the things you indicated was
19   that when the patient came to you -- Ms. Miller came to
20   you, she was expressing that she was having pain in her
21   neck; fair to say?
22        A      Yes.     Left-sided neck pain, along with some
23   headaches and pain that would travel to the left arm and
24   occasionally into the right arm.
25        Q      Okay.     So -- and your -- my understanding is

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 1   your view of this was that there were some herniated
 2   discs in her cervical spine that were causing that
 3   condition?
 4        A       Yes.    The 3-4 bulge was not as big a player in
 5   the issue and then 4-5 disc and the 5-6 disc that are
 6   the main sources of her trouble.
 7        Q       I understand.    And my understanding from this
 8   is, is that based on the medical history that she gave
 9   you, it was your view in conjunction with the diagnostic
10   imaging that you had that you thought that this accident
11   could be the cause of the condition that she suffered;
12   fair to say?
13                MR. MANTON:     Object to form.
14        A       That her pain and treatment that she received
15   stemmed from this collision.
16        Q       (By    Mr. Branch)   And I think you indicated
17   that you had the MRIs that you performed after the
18   accident but you did not have any diagnostic imaging for
19   the patient prior to the accident to review; is that
20   fair to say?
21        A       I didn't perform any MRI.        She went and got
22   MRIs done at American Health Imaging.           And then we do
23   have x-rays, and then we have a subsequent MRI that's
24   done at Elite.
25        Q       And I think we're saying the same thing.             I

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 1   understand she went for an MRI, but you reviewed the
 2   MRI; fair to say?     You reviewed the images?
 3        A     Yes.
 4        Q     You did not have the benefit of reviewing any
 5   images or any diagnostic imaging that had been done on
 6   her prior to the accident at issue; correct?
 7        A     Correct.
 8        Q     Okay.    Now, let's take a moment.         I want to
 9   make sure you and I are on same page with regard to what
10   you have in your file.       Give me just a moment here.
11              Doctor, I'm going to share with you many
12   screen.   Can you see that?
13        A     Yes.
14        Q    Now, what we did was -- so that we can all be
15   on same page here, we took the time to add this Bates
16   stamp number to the top of the records.           And then we
17   this morning sent to your counsel copies of these
18   records just to confirm what we had.         I want to just
19   briefly -- and I don't want to take all the time in the
20   world, but I want to make sure we're on the same page
21   want to go through this with you.
22              I can do this.      I'm happy to email and let you
23   look through it really quickly.        I'm happy just to
24   scroll through it together, whichever you think will be
25   quicker, more efficient.       But I want to get a sense as

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 1   to any confirmation that I have all the records that you
 2   have.
 3                  THE WITNESS:     That's fine.     Just so you
 4   know -- I'm sorry -- it's 6:33.           I'm good until 7:00
 5   o'clock.       I budget three hours for depositions.             Beyond
 6   that, we'll have to adjourn and do it another day if we
 7   need to.       I just want to make sure we try to get in the
 8   information in that time available.
 9           Q      (By    Mr. Branch)   Doctor, let's plow ahead
10   here.       Let's look into these records.
11           A      Yes.    Yes.
12                 MR. BRANCH:     And we Bates-stamped them in
13   the --
14                  THE WITNESS:    What is it you want me to do?
15                 MR. BRANCH:      I want to know if we have all the
16   records that you have in this matter.
17                  THE WITNESS:     I can't see that.       Could you at
18   least say what the dates are of the services or
19   something like that?          We've already read them before
20   with Mr. Manton.         Do you have the same stuff?
21                 MR. BRANCH:      I don't think you went through
22   the records in that manner before this.              Listen.      I'm
23   happy to email them to you and give you a moment to take
24   a look at them so that you can flip through them and do
25   that more efficiently.          But I want to do that.

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 1           A      Let me see.    So I saw her on July 31st, 2019.
 2           Q      (By   Mr. Branch)   Let me --
 3           A      March 25th, 2020; and then after that we saw
 4   her on May 12th, 2020.        We did surgery on June 8th,
 5   2020.       We then saw her afterwards on June 16, 2020.
 6           Q      Doctor --
 7           A      July 15, 2020; August 18, 2020; August 10,
 8   2021; September 7th, 2021; and September 28, 2021.                  If
 9   you have all those, I have all of those.
10           Q      Doctor, then in looking through your records
11   that you have available to you then, can you confirm you
12   don't have a copy of accident report for the accident
13   that occurred?
14           A      I don't see it there.     I have it here in front
15   of me right now.        This was given to me in a printed
16   sheet; so I have that.
17           Q      Who handed it to you?
18                  MR. SMITH:    Object form of the question.
19           A      My assistant in the office.
20           Q      (By   Mr. Branch)   How did she get it?
21           A      You or Mr. Manton forwarded it to us, I guess.
22           Q      Let's do this real fast --
23           A      But I have it right here if you want to go
24   over the report.        I can go over it with you.
25           Q      My question is -- let's take a look --

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 1                  MR. BRANCH:     I'm going to reference what we're
 2   going to mark as deposition Exhibit 2.
 3                  (Defendants' Exhibit No. 2 was marked for
 4   identification.)
 5           Q      (By     Mr. Branch)     Doctor, do you see these
 6   records?
 7                  THE WITNESS:     Sorry?
 8           Q      (By     Mr. Manton)     Do you see this?
 9           A      We got a -- these are documents we got
10   yesterday.
11                  MR. MANTON:     Are you screen sharing?             I can't
12   see it if you are.
13                  MR. BRANCH:     I apologize.       It listed in mine
14   that it was sharing.
15                  MR. MANTON:     That's okay.
16                  MR. BRANCH:     There we go.
17           Q      (By Mr. Branch)       All right.     Doctor, so
18   taking -- do you see these records?               Do you see that?
19           A      Yes.
20           Q      Okay.     Tell me if -- tell me the accident
21   report that you see in front of you.               I'm scrolling
22   down.       There's Georgia.     You'll see I started off with
23   the Bates Stamp numbers.             I started with --
24                  THE WITNESS:     When was that provided to you?
25                  MR. SMITH:     I'm going to object to the form of

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 1   the question.        I think he's already answered this and
 2   stated that it was just provided to him.
 3                  MR. BRANCH:     I want to put it on the record
 4   because of the representations that were made before the
 5   deposition started, the emails that were sent.
 6                  MR. SMITH:     Again, I'm just going to reserve
 7   the objection and note that he's already answered that
 8   question.
 9           Q      (By   Mr. Branch)    Doctor, take a look.           I'm
10   going to scroll down and start with Georgia Spine &
11   Ortho -- 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14,
12   15, 16, 17, 18, 19 --
13                  THE WITNESS:     I'll take your word for it.
14                  MR. BRANCH:     Doctor, we're not going to do
15   that.       We're going to take your word for it.
16           Q      (By   Mr. Branch)-- 20, 21 --
17                  THE WITNESS:     I just gave you my word, which
18   was, they were received yesterday.              It's right here.         I
19   can go --
20                  MR. BRANCH:     If you'll listen to the question.
21   Please listen to the question.
22           Q      (By   Mr. Branch)    24 --
23                  THE WITNESS:    We're wasting time.
24                  MR. MANTON:     I object to the form of the
25   question.       There's not a question.         We're just counting

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 1   pages one by one.
 2                MR. BRANCH:     Correct.
 3        Q       (By     Mr. Branch)    The question is, Doctor:          Is
 4   the accident report in the documents I'm showing you?
 5        A       Not -- no, not there because that was provided
 6   to you before I received the police report, which was
 7   yesterday.
 8        Q       And I just want to make sure.          So looking
 9   through all the Bates-stamped documents that we've just
10   referenced ...
11        A       Once again, I'm sorry.       I wasn't looking at
12   those pages.       I have to look at your face on the side
13   and then here.        So I missed a couple of pages.            But once
14   again, I'll take your word for it.            If it's there, it's
15   there.   If it's not, it's not.
16        Q       I want to make sure that the record's clear.
17        A       How much clearer can it be than "we got it
18   yesterday"?
19        Q       (By Mr. Branch)        Doctor, the pages that we
20   went through, did you see an accident report anywhere?
21        A       No.
22        Q       Okay.     All right.    Did you -- what else did
23   you receive yesterday prior to the deposition?
24                MR. SMITH:     Object to the form of the
25   question.

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 1          Q     (By Mr. Branch)        Let me ask you this:           Do you
 2   have photographs of the vehicles that --
 3          A     That was it.
 4          Q     Doctor, did you hear me?            Do you have any
 5   photographs in your file of the vehicles that were
 6   involved in the accident?
 7          A     I don't believe so.         No.     Sometimes patients
 8   show up, and they have -- everybody's got a smartphone;
 9   so people oftentimes take pictures.               So possible she
10   might have showed it to me, but I don't remember if she
11   did.
12          Q     I understand.       So as you sit here today, you
13   have no recollection of seeing the photographs of the
14   vehicles involved in the accident, and you don't have
15   any photographs of the vehicle that were involved in the
16   accident?
17          A     Correct.     Yes.    I don't remember seeing them.
18          Q     All right.     Other than what the plaintiff told
19   you, do you have any documentation of seeing the type of
20   damage that was done to the vehicles in the accident?
21          A     Just the police report says the vehicle had
22   severe damage and was removed by a private tow truck.
23          Q     How did you get the accident report?
24          A     It was sent to me yesterday.
25          Q     By whom?

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 1        A      You or Mr. Manton, I guess.
 2               MR. BRANCH:      I didn't send it to you.
 3               THE WITNESS:      I'm sorry?
 4               MR. BRANCH:      I didn't send it to you.
 5        A      Okay.     Mr. Manton sent it to me.         When I've
 6   done these depositions, you guys asked me if I've seen
 7   the police reports.       If I don't have it, I'll ask for it
 8   if I have to do a deposition.         That's probably what
 9   happened.
10        Q      (By     Mr. Branch)   Other than the accident
11   report, no other documentation whatsoever that relates
12   to the accident evidence as to the vehicles, anything of
13   that nature?
14               THE WITNESS:      Could you repeat that sentence?
15   No other documents that I have or that I've seen or that
16   I'm aware of?
17               MR. BRANCH:      All of above, sir.       Thank you.
18        A      No.
19        Q      (By     Mr. Branch)   All right.      Do you have any
20   dash-cam video from law enforcement?
21        A      No.
22        Q      All right.     So you have no clue how Ms. Miller
23   looked at the accident scene, what she was saying, how
24   she was acting?
25        A      Just what it says from the police report, that

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 1   she was complaining of pain in her neck, her back, and
 2   her knee and that she was evaluated by the EMS service
 3   and that her car had severe damage.           That's all.
 4        Q    Thank you.     But you never requested to look at
 5   any videos that might have been taken of her immediately
 6   after the accident?
 7        A    No.    No.
 8        Q    And what I noticed in your discussion of the
 9   records you have, you indicated that you have diagnostic
10   imaging that you perform.        Fair to say from the records
11   that we just looked through, you don't have any
12   diagnostic imaging in your file from any requests from
13   any other physicians; fair to say?
14             THE WITNESS:        I'm sorry.      Could you say that
15   one more time?
16             MR. BRANCH:        Absolutely.
17        Q    (By    Mr. Branch)      You referenced that you
18   looked at some MRIs that were postaccident.               Your file
19   doesn't contain any diagnostic imaging from any other
20   physicians other than what you were; fair to say?
21        A    No.    We have MRIs from American Health
22   Imaging, and that was from a different doctor.                  It's
23   going to take me a little time to find the name because
24   it was a different doctor that ordered it.
25        Q    Fair to say that your records that you have

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 1   don't include any of the actual medical records from any
 2   other care that she sought after the accident?
 3         A      I don't know if we have any chiro records or
 4   PT.   I don't think so.
 5         Q      Okay.     That's for -- particularly, you don't
 6   have any chiropractic records from the chiropractic care
 7   that she had at any time?
 8         A      Correct.     We just go over:        "Okay, what have
 9   you done?"     "I did 50 or so sessions of chiro.                 It
10   didn't help."        "I did 30 or so sessions of PT.              It
11   didn't help."        "I went to Windemere Medical Clinic.
12   I've been to summit Spine Center.              I've been to American
13   Health Imaging."        We have that information.
14         Q      If Ms. Miller had ever in her life prior to
15   the accident sought medical treatment complaining of
16   pain in her neck and radiating from her neck, would you
17   have liked to have seen that?
18         A      Sure, the more information the better.                    I
19   haven't been presented with any of that.                If you have
20   it, I'd be happy to look at it right now.                I'm sure the
21   jury would like to know if that exists; okay?                     Is it
22   important, Dr. Bendiks?        Great.    Let me look at it.                Let
23   me check it out.
24         Q      Have you done anything to do a differential
25   diagnosis on this case?

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 1           A    Yeah.   That's standard of medical care, is you
 2   go through -- you amalgamate all the medical
 3   information, and then you go through what the
 4   differential diagnosis would be, which is:               Could it be
 5   cancer?     Could it be infection?     Could it be autoimmune,
 6   metabolic, genetic?      You have to go through all of those
 7   different things, in addition to:            Could it be a damaged
 8   disc or something else?
 9           Q   What about, though, in terms of -- did you
10   rule out or do anything to consider when the injury
11   would have occurred in relation to the accident?                 Did
12   you do a differential diagnosis for that opinion in the
13   case?
14           A    Sure.   That's part of the differential
15   diagnosis, is getting the information.             So if Ms.
16   Miller -- if she had come in and said, "I've been having
17   nagging neck pain for the last 15 years, and it's
18   progressively gotten worse," okay.            That would lead me
19   in a different direction from what I think might be
20   going on, perhaps so if she had a six-month history of
21   gradual, progressively worsening, along with difficulty
22   swallowing and weight loss or night sweats.               That would
23   lead me in another direction.        So there's a variety of
24   different things that we look at.            We look at history,
25   physical exam, review of system, imaging studies, x-rays

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 1   MRIs, CTs, whatever it might be, to come up with a
 2   diagnosis based off of the differential diagnosis.
 3         Q      Fair to say if you don't have the medical
 4   history that speaks to those issues, you can't factor
 5   them in one way or the other to rule them in or rule
 6   them out; fair to say?
 7         A      As I said, we did a history and physical exam.
 8   We also do review of systems to go over all the
 9   potential explanations.        But as I mentioned before, if
10   you have any medical records, I'm happy to look at them
11   right now and answer that right now.            Sounds like you
12   might have something; so let's check it out.               Let's see
13   it.   If you do, then that might change my opinion, but I
14   just haven't seen anything yet.          The only things I would
15   have got is her history, these reports from her
16   treatment elsewhere, the imaging studies that I've got.
17   That's all the information that I have.
18         Q      In your conversations with Ms. Miller, did you
19   have discussions as to whether she may have had
20   physicians that she was seeing before the accident for
21   neck pain?
22         A      Yes.    We do go into that and ask the patient,
23   and that's clearly stated on the second page of the
24   first visit.        There's no prior history of neck pain.
25   And what I want to know is -- I don't want to know if

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 1   you woke up one morning with a crick in your neck from
 2   not sleeping well.      Everybody gets that.         I want to know
 3   if you had something like what you're dealing with now.
 4   That's what I want to know.
 5        Q       Sure, something that may have required close
 6   to a year's worth of, like, treatment for neck pain.
 7   You'd be interested in things like that?
 8        A       It would depend when that was and what it was.
 9        Q       Sure.
10        A       Absolutely.     The more information, the better.
11   But it all depends on when, where, and what.
12        Q       Right.   And Ms. Miller never told you or gave
13   you any indication that there may be some kind of
14   treatment like that out there that you might want to
15   consider and take a look at; fair to say?
16        A       All I went into was:       Have you had a prior of
17   similar symptoms where you're dealing with pain?                So
18   neck pain shooting off in the arms, headaches, things
19   like that.
20        Q       And the answer is, is it not, Doctor, that she
21   didn't tell you anything that led you in the direction
22   of thinking you needed to get prior medical records to
23   see if she had prolonged periods of neck pain?
24        A       Pain similar to what she's got, yes.
25                MR. BRANCH:     Correct.

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 1                  MR. MANTON:    Let us know when you get to a
 2   stopping point.        We've been going over on hour.            Are you
 3   getting to a stopping point?           A bathroom break might be
 4   good.
 5                  MR. BRANCH:    That's fine.      I have a -- I'm
 6   almost done, but I have a couple more areas.                I'm fine,
 7   but he says he's leaving at 7:00, though.
 8                  MR. MANTON:    That's right.      I forgot about
 9   that.       Let's keep going.
10           Q      (By Mr. Branch)     Doctor, I want to make sure I
11   have a full understanding of things that you have based
12   your opinion on that this automobile accident caused the
13   injuries for which you provided surgery.               It was the
14   conditions that Ms. Miller reported to you; correct?
15                  THE WITNESS:     Your question is why I believe
16   the accident is source her pain problems?               Is that what
17   your question is?
18                  MR. BRANCH:    Yeah.
19           Q      (By   Mr. Branch)      It was the medical history
20   she reported to you; correct?
21           A      It was the several things that I mentioned,
22   her not having these types of pains immediately
23   preceding the collision, having them after the
24   collision, having these pains as result of a plausible
25   mechanism.       Like, once again, could a collision between

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 1   a truck and a car cause spine injuries?           Yes; that can
 2   happen.     And then going into objective findings; okay?
 3   So I can't just base it on Ms. Miller saying, "I've got
 4   this problem."     I got to see something." That's where
 5   all these tests come into play -- x-rays, physical exam,
 6   MRI -- to be able to show that.        You can't make an x-ray
 7   or an MRI.     It is what it is.
 8                What are all the other things that could
 9   potentially explain this?       An infection, the cancer,
10   autoimmune, metabolic, genetic, all those issues.               So
11   what I'm left with is, I haven't seen any evidence that
12   can change my opinion.       Now, if you've got something,
13   I'm happy to see it.     I don't know if it will change it
14   or not until I see it.       If you don't have it, I can't --
15   if you won't show it, I can't look at it.            I can't
16   figure it out.
17        Q       Have you asked -- if you're questioning me as
18   the defendant in the lawsuit.
19                Have you asked Mr. Manton if he has any
20   additional records pertaining to Mrs. Miller that he'd
21   like to share with you that he thinks you should review?
22   Have you had those discussions with him?
23        A       No.   I'm -- I haven't, but I'm happy to ask
24   that too.     I'll take it from wherever.        So once again,
25   if you have -- do you have them?        I can look at them now

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 1   on the screen.       I can check them out.        That's why I'm
 2   here; right?       I'm supposedly the medical expert.             So
 3   show me the documents.          I don't mind, wherever the
 4   evidence is that I can give you an expert opinion or
 5   medical opinion on:        Do I think it's related or not?
 6         Q      Thank you.     The question is:        Have you had a
 7   discuss with Mr. Manton where you've asked him to
 8   provide you with any medical records that you may have?
 9                MR. MANTON:       Object to form.      Asked and
10   answered.     We got eight minutes left, guys.             Let's try
11   to wrap this up because I do get a redirect.                I mean,
12   Kevin, you've monopolized the time here since 5:00
13   o'clock.     At some point you need to quit asking the same
14   questions.
15         Q      (By Mr. Branch)       Doctor, if you would answer
16   my questions, it would help.
17                MR. MANTON:       He's already answered.
18         Q      (By   Mr. Manton)      Have you had any discussion
19   with Mr. Manton where you asked him to provide you with
20   a complete medical history for the plaintiff?
21         A      No.    I usually get it from the patient.             But
22   once again, wherever I get it from, I'm happy to review
23   it.
24         Q      Perfect.     And have you asked Ms. Miller -- did
25   you ever say to Ms. Miller, "I need to you to go collect

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 1   any medical records you have that predate the accident.
 2   Bring them to me because I'm going to be asked to
 3   provide an opinion in this case whether this accident
 4   caused your injury, and I need to review those before I
 5   can do that."
 6                  Did you ever have that conversation with her?
 7           A      So asking a 57-year-old female for all of her
 8   medical records since she was born and then to sift
 9   through there?       No, I don't do that.     Actually, I've
10   never done that with any patient in my 20 years of
11   practice.
12           Q      Did you ask for five years before the
13   accident?
14           A     No.   I asked the patient -- that's the person
15   I'm treating -- "Have you had these types of problems
16   before, and if so, okay; get me more information."                The
17   online imaging companies that did the MRIs, they have a
18   pretty exhaustive record, but they're only a couple of
19   companies.       But they tend to be the bigger companies in
20   town.       So you have a good chance of seeing a prior
21   imaging.       I didn't see any of those on the website for
22   her, but that's not exhaustive.        There are imaging
23   companies out there.
24           Q      Doctor, did you review the intake records that
25   Ms. Miller provided?

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 1             THE WITNESS:       Which ones?
 2             MR. BRANCH:        The additional patient
 3   information that she completed on July 31, 2019.
 4        Q    (By     Mr. Branch)     Did you review those
 5   documents in this case?
 6        A    Explain to me.        What does it say on it?          I
 7   usually look at the clinical intake sheet.              So it will
 8   say if they have a history of diabetes or cancer or
 9   prior surgeries or smokers things like that.
10        Q    Do you know --
11        A    If that's what you're referencing, then, yes.
12        Q    Do you know what the additional patient
13   information sheet is from Georgia Spine?
14        A    No, but, I mean, every doctor has a big old
15   stack of paperwork that we have people sign whenever
16   they first come in.     If that's the clinical intake thing
17   that you're referring to, then, yes; I've reviewed that.
18        Q    Okay.     And that's what -- so you've reviewed
19   any of clinical intake information that she provided.
20   Did you, in looking that, see any suggestions of prior
21   care that you may have wanted to explore that you
22   didn't?
23        A    The parathyroidectomy.         You've had prior
24   surgery in that area.        So that's helpful from a spine
25   perspective because we're going to be going back in

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 1   there doing surgery.       Not exactly the same area but
 2   close.     So you do want to be mindful:        Are you going
 3   into prior scar?     Was that prior surgery because of a
 4   cancer or some other thing?
 5                Being that was quite a while in the past and
 6   it's a different tissue plane, it's not something that I
 7   really needed to have more information.            And I can also
 8   look at the scan and see where is your incision.                It
 9   tends to be pretty low in the neck.           And then my
10   incision tends to be higher up.         We're kind of working
11   in different areas.
12        Q       Tell me what medical records -- because I
13   don't see any records in your file associated with prior
14   surgery.     How did you get those records from her, and
15   where are they?
16        A       It said on her clinical intake sheet, a
17   partial parathyroidectomy.
18        Q       Understood.     So you took from what she
19   wrote --
20        A       Yes.
21        Q       -- but didn't get medical records to look at
22   actually what happened?
23        A       Yes.   I listen to my patients and the
24   information they provide me.        Absolutely.
25        Q       Doctor, I just want to make sure you don't

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 1   have any medical records in your file from Emory Johns
 2   Creek.
 3                THE WITNESS:     Do I have the emergency room
 4   records?
 5                MR. BRANCH:     Yes.
 6        A       No, I do not.
 7        Q       (By   Mr. Branch)      You don't have any records
 8   in your file from Windemere Medical Clinic; true?
 9        A       I don't believe so.
10        Q       You don't have any records in your file from
11   Phoenix Chiropractic.
12        A       Correct.
13        Q       You don't have any records in your file from
14   Summit Spinal Health Care?
15        A       Correct.   Let me double check.         It just -- I'm
16   pretty sure the chiropractor records, I don't have.                 I
17   don't want to speak without being sure here.              I have one
18   visit from Windemere, medical record.           Looks like we got
19   that May 2020.      She had a televisit with a Nurse
20   Practitioner Hanniford, and she came in, I believe, for
21   a medical clearance.        Before we do a surgery on somebody
22   who's over 50, they have to get -- make sure that
23   they're healthy enough to have the surgery.              So we sent
24   her back to her primary care doctor to get her
25   clearance.

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 1           Q      What was date of that treatment, Doctor?
 2           A      Looks like May 1st of 2020.
 3           Q      So if I don't have that record like that,
 4   that's fair to say I don't have your entire file?
 5           A      If you don't have that, no.
 6           Q      Doctor, I think you indicated that you saw her
 7   in September of 2021.          Do you have a record from that
 8   visit?
 9           A      September.     I'm sorry.     You said September?
10                  MR. BRANCH:     Of this year.
11           A      September.     Yes.     I also see the ER records
12   right here.          I do have ER from Emory.        Forgive me.          It
13   is March 18, 2020.          Let's see
14           Q      (By    Mr. Branch)      So you have ER records.
15   Then I don't have a full file.
16           A      And Dr. Patel.        I have him as -- a visit from
17   him on January 24, 2019.             And then November 30, 2018, it
18   was a Dr. Chad Lee -- I think it's the same group -- who
19   looks like they did an -- nope -- an injection.                     The
20   things they list -- they don't list the injections
21   there.       Let's see.     Let's see.     Yeah.     That's what I
22   have.       And then I have a Resurgens record.              That was
23   March 18, 2020.          Let's see.     That is Resurgens.          Dr.
24   Preetesh Patel, October 16, 2019.               And they did
25   injections in the neck on that day.                And let's see.

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 1   7/16/2019 is also Resurgens.
 2           Q      (By Mr. Branch)     I want to make sure you do
 3   have ER records.          You have records from Resurgens.           You
 4   have records from Phoenix Chiropractic from January
 5   of --
 6           A      Not Phoenix.     I don't see that anywhere.           I'm
 7   not -- not the Phoenix stuff.
 8           Q      All right.     Doctor, what other records do you
 9   have from other facilities that are in your file?
10           A      Windemere, the Windemere clinic.
11           Q      You do have Windemere records?
12           A      Yeah.     That was the first one that I
13   mentioned.       This is annual physical exam, February 19,
14   2019.       Let's see.     Let's see what the last day is.           Hold
15   on one sec.       Some PT visits.     I got those.
16           Q      Doctor, can you tell from your file when you
17   got all these medical records?
18           A      Let's see here.     A lab on 12/7/18.        The
19   Windemere is 3/18/20.          Resurgens, same day.        Let's see.
20   Georgia Pain and Wellness, which I think is now called
21   Summit, same day.          Emory records, same day.        And then
22   Alliance the next day, 3/19/201.           Let's see what's in
23   Alliance. November 26, 2019, record -- let's see -- and
24   November 13th, 2019, and October 16, 2019.
25           Q      Doctor, where are you looking to find these

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 1   records?
 2           A      I'm looking on my computer.
 3           Q      Where on your ... what software?           What program
 4   are you reviewing?
 5           A      Our EMR system, Care Cloud.
 6           Q      In Care Cloud?
 7           A      Yes.
 8           Q      Would part of the audit log show when these
 9   records would be put into your system?
10                  MR. SMITH:     Object to the form of the
11   question.
12           A      The dates that I gave you are on the side
13   here.       March 18 and March 19, 2020.
14           Q      (By    Mr. Branch)   All predating November 24,
15   2020?
16           A      Yes; these are all before November 2020.
17                  MR. BRANCH:     Doctor, it's 7:00 o'clock.          So I
18   understand you have to go.
19                  THE WITNESS:     Okay.   All right.      Thank you
20   very much?
21                  MR. MANTON:     Three quick redirect questions.
22   It will take less than five minutes.             I promise you.
23                  MR. BRANCH:     I'm suspending the deposition.             I
24   mean, I don't --
25                  MR. MANTON:     That's not your call.        It's my

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 1   depo.
 2               MR. BRANCH:      You've put on the record, then --
 3   you've given the representation that you made to us
 4   prior to the deposition about what we had and what I
 5   just learned.     I'm not agreeing to suspending the
 6   deposition.     We can disagree to disagree on that.                I
 7   would put that on the record, and we can address it
 8   later.
 9               MR. MANTON:      Are you contending you don't have
10   any of those other records from all of the nonparty RPDs
11   you sent?
12               MR. BRANCH:      I'm contending that I have no
13   clue what he has because it's a moving target.
14               MR. MANTON:      Well, I think he just told you.
15   Just state on the record:        Did you not get all those
16   same records from the very same RPDs you sent to those
17   facilities?
18               MR. BRANCH:      I don't know what I have.          I
19   don't know what I have that he has.
20               MR. MANTON:      You sent nonparty RPDs to all
21   those people.     You have those records.
22               MR. BRANCH:      I have a screen and read
23   something that I have no clue what he has.
24               MR. MANTON:      I have three questions for you,
25   Doctor.

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 1             THE WITNESS:       All right.
 2                       FURTHER EXAMINATION
 3   BY MR. MANTON:
 4        Q    Has Mr. Branch shown you any actual records or
 5   evidence that would make you change your opinion that
 6   Shawn's herniated discs were caused by the car wreck she
 7   was involved in on November 19 of 2018?
 8        A    No.
 9        Q    Has Mr. Branch shown you any actual records or
10   evidence that would make you change your as reason why
11   Shawn needed the artificial-disc-replacement surgery
12   that you performed on her was due to the injury she
13   sustained in the car wreck she was involved in on
14   November 19th, 2018?
15        A    No.
16        Q    If he had offered you any medical records or
17   evidence here today to review that might be relevant for
18   your opinions, were you willing to review them?
19        A    Yes.
20             MR. MANTON:        That's all I have.
21             THE WITNESS:        Okay.
22             MR. BRANCH:        Doctor, just one more follow up.
23             THE WITNESS:        Okay.
24                       FURTHER EXAMINATION
25   BY MR. BRANCH:

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 1          Q     The records that you have, were any of them
 2   provided to you by Mr. Manton?
 3          A     That, I don't know.         It doesn't say source on
 4   the image that I see.           It just says the date, and then
 5   it has the descriptor of what it is next to it.
 6          Q     Do you have any objection to reviewing -- you
 7   understand if I called you directly, you wouldn't speak
 8   to me as the adverse party in litigation, would you?
 9                MR. MANTON:        Objection to form.         You're here
10   right now.      You've been cross-examining him 2-1/2
11   almost.     Give him what you got.
12          Q     (By   Mr. Branch)       I'm just saying, Doctor, if
13   I reached out to you, I trust everybody would object if
14   I tried to reach out to you individually; fair to say?
15                MR. MANTON:        There's actually measures --
16   there's actually provisions you can do under HIPAA.                      And
17   that was actually my Supreme Court case.                  It's Baker v.
18   Wellstar.      There's mechanisms.        If you want to talk to
19   him without a deposition, you can try.                 But you didn't.
20                THE WITNESS:        I'm happy to talk to you right
21   now.
22                MR. BRANCH:        All right.       Well, let's suspend
23   until we figure out what he actually has in the way of
24   documents.      We'll have to come back and do this again.
25                MR. MANTON:        I don't agree that we're

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 1   suspending it.    But I know that's not my decision or
 2   yours.   Ultimately, it's the judge's.          That fine.
 3              THE COURT REPORTER:        Do you guys need this
 4   transcribed?
 5             MR. BRANCH:        Very quickly.     I need it as
 6   quickly as possible.     I need the original part of the
 7   discussions with Mr. Smith about the records.
 8             MR. SMITH:     I'll need a copy of the same.
 9             MR. MANTON:        I'll take a copy.       I don't need
10   it --
11              (Wi-Fi signal terminated.          Suspended at 7:08
12   p.m.)
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 1                        C E R T I F I C A T E
 2

 3   GEORGIA:
 4   FAYETTE COUNTY:
 5

 6          I hereby certify that the foregoing deposition was
 7   stenographically recorded by me as stated in the caption,
 8   and the colloquies, questions and answers were reduce to
 9   typewriting under my direction; that the foregoing transcript
10   is a true and correct record of the evidence given.
11          The above certification is expressly withdrawn and
12   denied upon the disassembly or photocopying of the foregoing
13   transcript, unless said disassembly or photocopying is done
14   under the auspices of BULL AND ASSOCIATES, INC., Certified
15   Court Reporters, and the signature and original seal is attached
16   thereto.
17          I further certify that I am not a relative, employee,
18   attorney or counsel of the parties, nor am I a relative or
19   employee of such attorney or of any party, nor am I financially
20   interested in the outcome of the action.
21

22          This 9th day of November, 2021.

23                                     _____________________________
                                       MEG ARMISTEAD, Certified Court
24                                     Reporter (B-2011) My commission
                                       expires March 31, 2022.
25


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 1                                  DISCLOSURE

 2


 3             Pursuant to Article 10.B of the Rules and Regulations of

 4    the Judicial Council of Georgia, I make the following disclosure:

 5             I am a Georgia Certified Court Reporter. I am here as a

 6    representative of BULL AND ASSOCIATES, INC.

 7             Bull and Associates, Inc. was contacted to provide court

 8    reporting services for this deposition. Bull and Associates, Inc.

 9    will not be taking this deposition under any contract that is

10    prohibited by O.C.G.A 9-11-28 (c)., O.C.G.A. 15-14-37(a) and (b).

11             Bull & Associates, Inc. has no contract/agreement to provide

12    reporting services with any party to the case, any counsel in the case,

13    or any reporter or reporting agency from whom a referral might have

14    been made to cover this deposition.

15             Bull & Associates, Inc. will charge its usual and customary

16     rates to all parties in the case, and a financial discount will not

17     be given to any party to this litigation.

18                   OFFICIAL CODE OF GEORGIA ANNOTATED 15-14-37
     (a)       Contracts for court reporting services, not related to a
19             particular case or reporting incident, between a certified
               court reporter or any person with whom a certified court
20             reporter has a principal and agency relationship and any
               attorney at law, party to an action, or party having a
21             financial interest in an action, are prohibited. Attorneys
               shall not be prohibited from negotiating or bidding reasonable
22             fees for services on a case-by-case basis.

23   (b)       In order to comply with subsection (a) of this Code Section,
               each certified Court Reporter shall make inquiry regarding
24             the nature of the contract for his or her services directed
               to the employer or the person or entity regarding said
25             Court Reporter's services as an independent contractor.




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